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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

CASE NO. &°)@-cv- 1058 -7--33 UAP

DIVERSIFIED LENDERS, LLC,
an Oklahoma limited liability company

Plaintiff,
V.

AMAZON LOGISTICS, INC., a Delaware
corporation, and VERTICAL HOLDINGS
UNLIMITED, LLC d/b/a VHU EXPRESS, a
Florida limited liability company,

Defendants.
/

 

COMPLAINT

Plaintiff Diversified Lenders, LLC, an Oklahoma limited liability company
(“Diversified”), by and through undersigned counsel, hereby sues Defendants, Amazon
Logistics, Inc., a Delaware corporation (“Amazon”) and Vertical Holdings Unlimited, LLC d/b/a
VHU Express, a Florida limited liability company (“Vertical”), and in support thereof, states the
following:

JURISDICTIONAL ALLEGATION

L; This Court has original subject matter jurisdiction over this matter, pursuant to 28
U.S.C. § 1332(a) because Diversified, an Oklahoma limited liability company, having its
principal place of business and its sole managing member's state of incorporation and principal
place of business in Texas and Oklahoma, respectively, and Amazon, a corporation that is
incorporated in Delaware and having its principal place of business in Washington or a state
other than Texas or Oklahoma, and Vertical is a limited liability company, having both its

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principal place of business, and its managing members in Florida or a state other than Texas or
Oklahoma.

2. The amount in controversy exceeds, exclusive of interest and costs, the sum
specified in 28 U.S.C. § 1332(¢a).

3. In addition, pursuant to 28 U.S.C. § 1367(a), this Court also has supplemental
jurisdiction over all claims that are “so related to the claims in the action within [its] original
jurisdiction that they form part of the same case or controversy.”

VENUE ALLEGATION

4. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) in that this
action is filed in “a judicial district in which a defendant resides.” More specifically, Amazon
entered into a contract (the “Delivery Provider Contract”) with Vertical, a Florida limited
liability company which resides in Hillsborough County, Florida, in that Vertical is an entity that
is subject to personal jurisdiction the judicial district at the time this action is commenced.

PARTY ALLEGATIONS
5. The Plaintiff, Diversified, is an Oklahoma limited liability company with its
principal place of business in Edmond, Oklahoma. The sole member of Diversified is
Diversified Lenders, Inc., a Texas for-profit corporation.

6. Defendant Amazon is a Delaware corporation with its principal place of business
located in Seattle, Washington. Amazon engages in systematic and not isolated business within
Florida.

7. Defendant Vertical is a Florida limited liability company with its principal place
of business in Tampa, Florida. Vertical has two managing members, Lisa Blythewood and Craig

Blythewood, both of whom reside in Valrico, Florida.

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ALLEGATION REGARDING CONDITIONS PRECEDENT
8. Diversified has performed all conditions precedent with respect to the actions

herein sued upon, or same have occurred, been waived or been excused.

COUNT I - AMAZON’S BREACH OF THE STATUTORY DUTY TO PAY
DIVERSIFIED

Plaintiff, Diversified, sues Defendant Amazon for breach of its statutory duty to pay
Diversified in violation of 9-406 of the Uniform Commercial Code.

9. Diversified hereby readopts and realleges paragraphs 1 through 8 as if each were
fully and independently realleged herein.

10... Through the Loan Documents (as defined in paragraph 20 below), Vertical
granted Diversified a security interest in and to Vertical’s assets, which included, among other
things, all of Vertical’s then owned or later acquired Accounts, equipment, inventory, goods,
etc., and all proceeds thereof (collectively, the “Collateral”).

11. On or about April 28, 2015, Diversified and Vertical sent a letter to and which
letter was received by Amazon, giving notice that Vertical’s present and future Accounts had
been assigned to Diversified, and providing that all present and future payments owing to
Vertical must be paid by Amazon to, and only to, Diversified (the “First Notice of Assignment”).
A true and correct copy of the First Notice of Assignment is attached as Exhibit “1.”

12. On or about September 30, 2015, Diversified and Vertical sent a second letter to
and which letter was received by Amazon, again giving notice that Vertical’s present and future
Accounts had been assigned to Diversified, and providing that all present and future payments
owing to Vertical must be paid by Amazon to and only to Diversified (the “Second Notice of
Assignment”). A true and correct copy of the Second Notice of Assignment is attached as
Exhibit “2.”

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13. Pursuant to the Loan Documents, Vertical granted to Diversified a security
interest and in connection therewith, assigned to Diversified the right to receive payment for

among others, the following invoices for transportation services provided by Vertical to

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Amazon:
INVOICE DATE AMOUNT
NUMBER
1047 8/18/2015 $ 27,586.44
1049 8/24/2015 $ 34,176.80
1054 8/27/2015 $ 27,339.56
1065 9/6/2015 $ 44,991.90
1066 9/6/2015 $ 38,022.78
1067 9/6/2015 $ 19,094.22
1068 16/2015 $ 41,992.16
1083 9/21/2015 $ 32,836.36
1081 9/22/2015 $ 40,671.10
1086 9/25/2015 $ 15,966.24
1087 9/25/2015 $ 41,066.15
1088 9/25/2015 $ 21,363.86
1089 9/25/2015 $ 40,904.93
1090 9/28/2015 $ 44,854.55
1095 10/5/2015 $ 9,846.28
1096 10/7/2015 $ 46,629.63
1097 10/7/2015 $ 43,136.36
1098 10/7/2015 $ 38,943.10
1099 10/7/2015 $ 39,400.43
1100 10/7/2015 $ 42,514.68
1106 10/19/2015 $ 42,475.24
1107 10/19/2015 $ 43,136.36
1108 10/19/2015 $ 37,733.34
1109 10/19/2015 $ 38,647.07
1116 10/23/2015 $ 37,733.34
TW? 10/23/2015 $ 38,647.07
1122 10/31/2015 $ 5,008.57
1118 11/1/2015 $ 46,779.20

 

 

 

 

 

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Vertical Holdings Unlimited, LLC d/b/a VHU Express

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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1119 11/1/2015 $ 47,020.13
1120 11/1/2015 $ 41,348.87
112] 11/1/2015 $ 50,287.37
1134 11/19/2015 $ 33,930.76
1135 11/19/2015 $ 20,462.66
1136 11/19/2015 $ 24,920.45
1137 11/19/2015 $ 28,697.87
1138 11/19/2015 $ 730.00
1143 11/22/2015 $ 29,832.58
1159 11/29/2015 $ 15,016.69
1162 11/29/2015 $ 19,403.39
1157 12/6/2015 $ 23,529.97
1160 12/6/2015 $ 19,232.14
1163 12/6/2015 $ 19,998.38
1165 12/6/2015 $ 19,960.66
1158 12/13/2015 $ 25,174.84
1161 12/13/2015 $ 19,232.14
1164 12/13/2015 $ 19,444.4]
1166 12/27/2015 $ 13,648.63
1167 12/27/2015 $ 31,202.12
1189 1/17/2016 $ 12,068.52
1190 1/17/2016 $ 25,192.69
1192 1/17/2016 $ 34,222.82
1193 1/24/2016 $ 12,068.52
1194 1/24/2016 $ 25,923.21
1196 1/24/2016 $ 32,370.40
1199 1/24/2016 $ 12,068.52
1198 1/31/2016 $ 33,469.53
1200 1/31/2016 $ 21,464.19
1197 2/1/2016 $ 7,808.24
1207 2/7/2016 $ 8,779.05
1202 2/7/2016 $ 12,405.20
1203 2/7/2016 $ 9,403.49
1204 2/7/2016 $ 29,779.98
1205 2/7/2016 $ 4,704.75
1206 2/7/2016 $ 5,744.10
1207 2/7/2016 $ 2,081.50

 

 

 

 

 

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1208 2/7/2016 $ 5,695.25
1189A 1/20/2016 $ 1,232.00
TOTAL 31,781,053,74

 

 

 

 

 

The above-stated sixty-seven (67) invoices shall hereinafter be collectively referred to as the
“Outstanding and Unpaid Invoices.”

14. | Amazon received each of the Outstanding and Unpaid Invoices and has neither
communicated nor objected to any of the services provided by Vertical to Amazon supporting
the sums due under the Outstanding and Unpaid Invoices.

15. Asa result of Amazon having received the First Notice of Assignment and the
Second Notice of Assignment, Amazon’s obligation under Section 9-406 of the Uniform
Commercial Code (“UCC”)! became triggered, which subsection states that:

. an account debtor [Amazon] on an account ... may discharge its
obligation by paying the assignor [Vertical] until, but not after, the
account debtor [Amazon] receives a notification, authenticated by the
assignor [Vertical] or the assignee [Diversified], that the amount due or to
become due has been assigned and that payment is to be made to the
assignee [Diversified]. After receipt of the notification, the account debtor
[Amazon] may discharge its obligation by paying the assignee
[Diversified] and may not discharge the obligation by paying the
assignor [Vertical].

UCC § 9-406(a) (emphasis added).

16. Diversified has never received any payment of any of the amounts due and owing
in connection with the Outstanding and Unpaid Invoices notwithstanding that the Outstanding
and Unpaid Invoices have each individually matured and have been collectively delinquent from
the most recent invoice having been outstanding in excess of thirty (30) days (invoice 1216) to

the oldest invoice being outstanding in excess of one hundred and eighty (180) days (invoice

1066).

 

' This statute of the UCC has been adopted by the State of Florida as Fla. Stat. § 679.4061.
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17.‘ Diversified has suffered damages by virtue of Amazon having failed to fulfill its
obligation to make payment to Diversified under the terms of the invoices and as statutorily
required by UCC § 9-406.

18. Amazon owes Diversified the sum of $1,691,950.94, plus prejudgment interest at
the rate prescribed by law, as well as its reasonable attorney’s fees and costs pursuant to UCC
§9-615(a)(1).

WHEREFORE, Plaintiff Diversified Logistics, LLC prays for a judgment against
Defendant Amazon Logistics, Inc. in the amount of at least $1,691,950.94, together with
prejudgment interest, costs and as may be allowed, reasonable attorney’s fees and such other
relief, as this Court deems appropriate.

COUNT II - VERTICAL’S BREACH OF CONTRACT

Plaintiff, Diversified, sues Defendant, Vertical, for Vertical’s breach of its contractual
duty to pay Diversified.

19, Diversified hereby readopts and realleges paragraphs 1 through 8 as if each were
fully and independently realleged herein.

20. On or about September 30, 2015, Diversified entered into an Accounts Receivable
Finance Agreement arrangement (the ‘““Agreement”) and a related Revolving Credit Note (the
“Note”) with Vertical (the Agreement and Note are collectively the “Loan Documents”). The
Loan Documents provided, inter alia, a revolving credit line whereby Diversified agreed to lend
funds to Vertical. True and accurate copies of the Agreement and Note are attached as
composite Exhibit “3.”

21. In accordance with the Loan Documents, Vertical was required to make certain
payments to Diversified upon receipt of payment of its accounts receivable, as discussed in the

Agreement.

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22. Diversified has never received any payment of any of the amounts due and owing
in connection with the Loan Documents, despite demand therefore.

23. Vertical materially breached the Loan Documents with Diversified by either the
occurrence of or by breaching sections 9.1(a), (j), (k) and (m) of the Loan Documents.

24. Vertical owes Diversified compensatory damages, together with prejudgment
interest at the rate prescribed by law, as well as Diversified’s reasonable attorneys’ fees and costs
incurred, pursuant to Section 10.2 of the Agreement.

WHEREFORE, Plaintiff Diversified Logistics, LLC prays for a judgment against
Defendant Vertical Holdings Unlimited, LLC d/b/a VHU Express in excess of $1,500,000.00,
together with prejudgment interest, costs and as may be allowed, reasonable attorney’s fees and
such other relief, as this Court deems appropriate.

Dated: April 28, 2016.

Respectfully submitted,

ULLMAN & ULLMAN, P.A.

Attorneys for Diversified Lenders, LLC

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Boca Raton, Florida 33433

Telephone: (561) 338-3535

Facsimile: (561) 338-358

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NOTIFICATION AGREEMENT
Attention: CONTROLLER/MANAGER

RE: Notice of Sale and Assignment of Accounts Receivable and change in Payment Instructions
by: VERTICAL HOLDINGS UNLIMITED, LLC d/b/a VHU EXPRESS to Diversified
Lenders, LLC

To Whom It May Concern:

_ We are pleased to advise that, tq enable us to better service our customers, we have assigned our
present and future accounts to Diversified Lenders, LLC.

As part of their service, they ate providing us with a centralized billing and accounts reccivable
processing. Therefore, we request your cooperation in remitting payments on all open invoices as
well as those subsequently received to:

If paying by check, mail to: . If paying electronically:
VERTICAL HOLDINGS Diversified Lenders, LLC
UNLIMITED, LLC AND Arvest Bank

Diversified Lenders, LLC Routing Number: 103112976
Post Office Box 268957 Account Number: 85830745

Oklahoma City, OK 73126-8957 Payment Advice: kgutierrez@diversifiedlenders.com

This financial arrangement has been duly recorded under appropriate State Statutes and Uniform
Commercial Codes. .Please make a notation in your ledger.

If there are any questions conceming your billing, please feel free to call Diversified Lenders, ©
LLC, at: .

405-715-5720

This notice and instruction.remains in full force and effect ’until you are notified by both the
undersigned and Diversified Lenders, LLC, in writing to the contrary. Thank you for your

cooperation.
Date: April 28, 2015
Diversified Lenders, LLC ' VERTICAL HOLDINGS UNLIMITED,

LLC d/b/a MAWJEXPRESS

 

 

 

 

 

  

By:
Noe San = ——— Name: Lisa Bythewobl
Title: Vice President Title: CEO

EXHIBIT

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NOTIFICATION AGREEMENT
Attention: © CONTROLLER/MANAGER
RE: Notice of new Accounts Receivable Financing Agreement and change in Payment

Instructions by: VERTICAL. HOLDINGS UNLIMITED, LLC d/b/a VHU EXPRESS

 

To Whom It May Concern:
We are pleased to advise that, to enable us to better service our customers and expand our geographic market, we
have entered into a new financing agreement with Diversified Lenders, LLC.

As part of their service, they are providing us with a centralized accounts receivable processing and collection
services. Therefore, we request your cooperation in remitting payments on ali open invoices-as well as those

 

subsequently received to:

If paying by check, mail to: If paying electronically:
VERTICAL HOLDINGS UNLIMITED, LLC Diversified Lenders, LLC/VHU EXPRESS
d/b/a VU EXPRESS c/o Diversified Lenders, LLC Arvest Bank

P.O. Box 268957 Routing Number: 103112976

Oklahoma City, OK 73126-8957 Account Number: 85830745

Payment Advice: kgutierrez@diversifiedlenders.com
If there are any questions concerning your billing, please feel free to call Diversified Lenders, LLC at:
(405) 715-5720 Fax — (405) 715-8735
This notice and instruction remains in full force and effect until you are notified by bath the undersigned and
Diversified Lenders, LLC in writing to the contrary. Thank you for your cooperation.

Date: September 30, 2015

Diversified Lenders, LLC VERTICAL HOLDINGS UNLIMITED, LLC

    

 

 
 

 

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ACCOUNTS RECEIVABLE FINANCE AGREEMENT

This ACCOUNTS RECEIVABLE FINANCE AGREEMENT is made as of the 30th day of September,
2015, by and between DIVERSIFIED LENDERS, LLC, an Oklahoma limited liability company (“Lender”) and
VERTICAL HOLDINGS UNLIMITED, LLC d/b/a VHU EXPRESS, a Florida limited liability company
(“Borrower”). Each of Lender and Borrower is a “Party” and, collectively, they are “Parties”.

WITNESSETH:

WHEREAS, Borrower desires to borrow from Lender, and Lender is willing to make loans to Borrower
upon the terms and conditions set forth herein;

NOW, THEREFORE, in consideration of Ten and No/100 Dollars ($10.00), the terms and conditions
contained herein, any extension of credit heretofore, now, or hereafter made by Lender to Borrower, and other
good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the Parties
hereto hereby agree as follows:

1. GENERAL DEFINITIONS
When used herein, the following terms shall have the following meanings:

“Account(s)”:. all of Borrower’s present and future rights to payment for goods, merchandise, or
inventory sold, rented or leased or for services rendered, including, without limitation, those which are not
evidenced by instruments or chattel paper, and whether or not they have been eared by performance,
including, but not limited to, account(s), accounts receivable, proceeds of any letters of credit of which
Borrower is a beneficiary, contract rights, acceptances, notes, chattel paper; instruments (other than margin
stock), drafts, documents, insurance proceeds, deposits or other sums credited by or due from the Lender to
Borrower; and all such obligations whatsoever owing to Borrower, together with all instruments and all
documents of title representing any of the foregoing, all rights in any goods, merchandise, or inventory
which any of the same may represent, all rights in any returned or repossessed goods, merchandise and
inventory, and all right, title, security, and guaranties with respect to each of the foregoing, including, without
limitation, any right of stoppage in transit. To the extent not included in the foregoing, Accounts shall also
include “accounts” as defined in the UCC.

“Account Debtor”: any Person (as defined herein) who is or who may become obligated to Borrower
under, with respect to, or on account of an Account.

“Affiliate”: means with respect to any entity, any other entity or Person that controls, is controlled by, or
is under common control with such entity in question. For purposes hereof, the term “control” shall mean the
possession, directly or indirectly, of the power to direct or cause the direction of the management and policies of
any such entity or the power to veto major policy decisions of any such entity, whether through the ownership of
voting securities, by contract, or otherwise.

“Agreement”: this Accounts Receivable Finance Agreement, including all Exhibits and Schedules hereto,
as the same may be from time to time amended, modified, or supplemented.

“Borrowing Base”: the total of Borrower's Eligible Accounts.

“Charges”: all national, federal, state, county, city, municipal, and/or other povernmental taxes, levies,
assessments, charges, liens, claims or encumbrances upon and/or relating to: (A) the Collateral (as defined
herein); (B) the Liabilities (as defined herein); (C) Borrower’s employees, payroll, income, and/or gross receipts;
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ACCOUNTS RECEIVABLE FINANCE AGREEMENT - Page No. 1 Rev. 0315

 

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(D) Borrower’s ownership and/or use of any of its assets; (E) any other aspect of Borrower’s business; or (F) as
set forth in Schedule A.

“Collateral”: all property and interests in property of any nature now owned or hereafter existing,
acquired, or arising securing payment of the Liabilities, including without limitation: (a) all of Borrower's
Accounts, General Intangibles, inventory, goods, equipment, furniture, and fixtures; (b) all of Borrower’s right,
title and interest in and to any deposits or other sums at any time credited by or due from banks to Borrower and
any other bank accounts of Borrower, with the same ngbts therein as if the deposits or other sams were
credited by or due from banks to Lender; (c) all monies and property of any kind now or at any time or times
hereafter in the possession or under the control of Lender or a bailee of Lender; (d) all accessions to, substitutions

for and all replacements, products and proceeds of the foregoing, including, without limitation, proceeds of
insurance policies insuring the Collateral; and (e) all books and records (including, without limitation, customer
lists, credit files, computer programs, print-outs and other computer materials and records, whether tangible or
intangible and regardless of the manner in which they are stored) of Borrower pertaining to any of the foregoing.
All terms not otherwise defined herein shall have the meanings ascribed to them in the UCC.

“Commitment Period”: the period from and including the Funding Date to, but not including, the
Termination Date.

“Contract Rate”: a fluctuating rate per annum equal to the Prime Rate plus two and one-half percent
(2.50%).

“Default Rate”: a fluctuating rate per annum equal to the Contract Rate plus three percent (3%).

“Eligible Accounts”: Such Accounts that are, and at all times shall continue to be, acceptable to Lender, in
its sole discretion. Borrower shall supply to Lender information regarding Accounts in form and substance
satisfactory to Lender, including without limitation such information as may be necessary to establish to Lender’s
satisfaction that: (a) any goods giving rise to the Account have been shipped or delivered to, and any services
giving rise to the Account have been performed in accordance with Borrower's agreement with, an Account
Debtor on an absolute and unsecured sale basis and not on consignment, on approval, on bill-and-hold, on a
sale-or-return basis or subject to any other repurchase or return agreement on an open account basis; (b) no
material part of any goods giving rise to the Account has been returned, rejected, lost or damaged; (c) the
Account is not an instrument of any kind and not evidenced by chattel paper or an instrument of any kind; (d)
the Account Debtor is not insolvent or the subject of any bankruptcy or insolvency proceeding of any kind, nor is
any such proceeding threatened; (e) action has not been filed, or threatened, by or against the Account Debtor for
relief under the Bankruptcy Code nor has Account Debtor made an assignment for the benefit of creditors; (f)
Borrower shall not have maintained possession and/or control of any goods sold (either directly or
through an agent or custodian) giving rise to the Account nor are such goods subject to further and/or
future direction from the applicable Account Debtor; (g) the Account does not arise out of transactions with an
employee, officer, agent, director, control stockholder, or Affiliate of Borrower except as approved by Lender;
(h) the Account does not arise out of a sale not in the ordinary course of business; (i) the Account is a valid,
legally enforceable obligation of the Account Debtor thereunder and is not subject to any claim, dispute, or
defense on the part of such Account Debtor; provided, however, that ifan Account is subject to a defense,
dispute, or claim, it may in the sole discretion of Lender be partially eligible after adjustment for such offset,
defense, or claim; (j) the sale giving rise thereto is not to an Account Debtor located outside the United
States or Canada; (k) the Account is subject to no lien or security interest whatsoever, except for the security
interest of Lender hereunder; (L) the Account is evidenced by an invoice and proof of shipment of any goods
or performance of any services giving rise to the Account, in form acceptable to Lender, which ‘invoice
requires payment not later than thirty (30) days from the date of the invoice and such Account has not remained
unpaid more than ninety (90) days after the date of such invoice; (m) the Account is not owing from an Account
Debtor from which fifty percent (50%) or more of the Accounts owing are more than ninety (90) days past the
invoice date; (n) the Account Debtor is not the United States of America or the Commonwealth of Puerto Rico or

ACCOUNTS RECEIVABLE FINANCE AGREEMENT - Page No. 2 Rey, 0315 Initi

 
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any department, agency or instrumentality thereof; and (0) the Account Debtor is not also Borrower’s supplier
or creditor. .

An Account which was previously an Eligible Account may at Lender’s sole discretion cease to be an Eligible
Account. .

“Funding Date”: the date upon which the Lender initially advances funds under the Revolving Credit
Note, this Agreement, and the Other Agreements.

“General Intangibles”: all present and future general intangibles and other personal property (including,
but not limited to, choses or things in action, goodwill, patents, trade names, trademarks, service marks,
copyrights, blueprints, drawings, purchase orders, customer lists, monies due or recoverable from pension funds,
route lists, monies due under any royalty or licénsing agreements, infringement claims, computer programs,
computer discs, computer tapes, literature, reports, catalogs, deposit accounts, insurance premium rebates, tax
refunds, and tax refund claims) other than goods and Accounts, and Borrower's books and records relating to any
of the foregoing. To the extent not included in the foregoing, General Intangibles shall also include “general
intangibles” as defined in the UCC ;

“Indebtedness”: all loans, advances, debts, liabilities, obligations, covenants, duties and indebtedness of
any and every kind and nature, including, without limitation, liabilities and all obligations to trade creditors,
whether heretofore, now or hereafter owing, arising, due, or payable from Borrower to any Person and
howsoever evidenced, created, incurred, acquired or owing, whether primary, secondary, direct, contingent, fixed

or otherwise.

“Liabilities”: any and all obligations, liabilities and Indebtedness of Borrower to Lender of any and every
kind and nature, howsoever created, arising or evidenced and howsoever owned, held or acquired, whether now
or hereafter existing, whether now due or to become due, direct or indirect and whether arising or existing under
written or oral agreement or by operation of law.

“Lien”: any mortgage, lien, pledge, security interest, title retention arrangement, levy, assessment,
claim or other encumbrance upon or relating to the Collateral, the Liabilities, the employees, payroll, income,
profits, gross receipts, assets, property (real, personal or mixed) or business of Borrower or any Affiliate of
Borrower.

‘Note”: the Revolving Credit Note substantially in the form attached hereto as Exhibit A and all renewals,
modifications, amendments, and replacements thereof.

“Other Agreements”: all Supplementa] Documentation (as defined below) and all agreements,
instruments and documents, including, without limitation, notes, guaranties, mortgages, escrow agreement,
deeds of trusts, chattel mortgages, pledges, powers of attomey, consents, assignments, contracts, notices,
security agreements, leases, financing statements, subordination agreements, participation agreements, trust
account agreements, agreements relating to any letter of credit, and all other written matter whether heretofore,
now, or hereafter executed by or on behalf of Borrower and/or delivered to Lender with respect to this

Agreement, .

“Person”: any individual, sole proprietorship, parmership, joint venture, trust, unincorporated
organization, association, corporation, limited liability. company, institution, entity, Party, or government
(whether national, federal, state, county, city, municipal or otherwise, including, without limitation, any
instrumentality, division, agency, body or department thereof).

 

“Prime Rate”: the highest prime rate published daily in The Wall Street Joumal under “Money Rates” or
in such other published source as Lender may from time to time hereafter reasonably designate in writing,

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whether such rate is actually ever charged or paid; provided, however, for purposes of establishing the Contract
Rate such rate shal] be deemed to be no less than 4.00% per annum.

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“Revolving Credit Commitment”: the agreement of Lender to make revolving credit loans to Borrower
not to exceed One Million Five Hundred Thousand and No/100 Dollars ($1,500,000.00) pursuant to Section 2.1.

“Supplemental Documentation”: all agreements, instruments, documents, financing statements,
warchouse receipts, bill of lading, notices of assignment of accounts, schedules of accounts assigned, mortgages,
landlord’s consents, landlord’s waivers and other written matter necessary or requested by Lender to perfect,
maintain perfected, or enforce Lender’s security interest in and rights in respect of the Collateral.

“Termination Date”: as defined in Section 2.
“TCC”: the Uniform Commercial Code of the State of Oklahoma as from time to time amended.
2. LOANS: GENERAL TERMS

2.1 Loan Amount. Provided that there does not then exist an Event of Default or any event or
conditions which, with notice, lapse of time and/or the making of such loan, would constifiute an Event of
Default, and notwithstanding anything to the contrary contained herein or in the Other Agreements, Lender
agrees to make advances to or for the benefit of Borrower in an aggregate amount up to the Revolving Credit
Commitment during the term of this Agreement, which advances shall be subject to all of the terms and
conditions of this Agreement and shall be a revolving line of credit consisting of loans against Borrower’s
Eligible Accounts as set forth on Schedule A.

2.2 Revolving Credit Note. The revolving credit loans under the Revolving Credit Commitment
shall bé evidenced by the Note executed by Borrower payable to the order of Lender, representing the
obligation of Borrower to pay the aggregate unpaid principal amount of ali revolving credit loans made
by Lender to Borrower, together with interest, charges, fees, and other expenses thereon as prescribed by this
Agreement. Lender is authorized to maintain a record of all disbursements and receipts of principal and
interest under the Note, which record shall constitute prima facie evidence of the accuracy of the information
contained therein.

2.3. Termination. (A) The initial Termination Date shall be one year from the Funding Date.and the
Commitment Period shall be automatically extended for successive one year periods thereafter (“Renewal
Terms”), unless terminated as provided in this Agreement. Notwithstanding any provision herein or in any Other
Agreement to the contrary, the outstanding principal amount of the Note shall be payable upon an Event of
Default, as defined herein, or upon the Termination Date, whichever first occurs.

(B) So long as no interest is then unpaid, Borrower may, at its option, prepay the Note in whole and
terminate the Revolving Credit Commitment after the end of the first year of this Agreement by giving Lender
irrevocable written notice ofits intention to make such prepayment and termination at least ninety (90) days prior
thereto, provided, that, in order for notice of such termination by Borrower to become effective, Borrower shall,
on the date specified for such prepayment, pay to Lender, in cash or by federal wire transfer, the total amount of
the Liabilities outstanding to the date of such prepayment, and Borrower shall also pay to Lender, a termination
fee equal to five percent (5.0%) of the Revolving Credit Commitment to compensate Lender for the
administrative expense of early termination, expenses incurred by Lender in connection with arranging for the
availability of fumds to fund the Revolving Credit Commitment for the entire Renewal Term, maintenance of the
yield to be realized by Lender on advances made during the entire Renewal Term, and related items, all of which
the Parties agree are difficult to‘determine and of which the termination fee constitutes a reasonable estimate and
not a penalty (the “Commitment Termination Fee”).

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(C) Borrower may terminate the Revolving Credit Commitment under this Agreement, without
payment of the Commitment Termination Fee to the Lender, on the Termination Date or at the end of any
Renewal Term by giving Lender ninety (90) days’ prior written notice of such termination by certified or
registered mail.

(D) Lender may terminate the Revolving Credit Commitment under this Agreement and the Other
Agreements at any time after the date of this Agreement by giving Borrower thirty (30) days prior written
notice of such termination, by certified or registered mail.

(E) Upon termination, however occurring, Borrower covenants and agrees that Borrower shall deliver
to Lender such documents, agreements, releases, and indernnifications as Lender may require in order to release
and indemnify Lender from any and all claims and causes of action arising from the Revolving Credit
Commitment, including without limitation the loans incident thereto, the Accounts, and any other Collateral.
Borrower covenants and agrees that Lender shall be under no obligation to release its lien and security interest in
the Collateral until such time as Lender has received such documentation.

2.4 Mandatory Prepayments. If at any time during the Commitment Period the unpaid principal
balance of the Note shall exceed the Borrowing Base, Borrower shall prepay an amount equal to such excess
within two days after notice from Lender.

 

2.5 Interest Charges

(A) Borrower shall pay Lender interest on the actual daily outstanding principal amount of the
Liabilities at the Contract Rate.

(B) Notwithstanding the foregoing, (i) ifat any time the amount of such interest computed on the basis
of the Contract Rate would exceed the amount of such interest computed upon the basis of the maximum rate of
interest permitted by applicable state or federal law in effect from time to time hereafter (the “Maximum Legal
Rate”), the interest payable under this Agreement shall be computed upon the basis of the Maximum Legal
Rate, but any subsequent reduction in the Contract Rate shail not reduce such interest thereafter payable
hereunder below the amount computed on the basis of the Maximum Legal Rate until the aggregate amount
of such interest accrued and payable under this Agreement equals the total amount of interest which would have
accrued bad such interest been at all times computed solely on the basis of the Contract Rate; and (ii) unless
preempted by federal law, the Contract Rate from time to time in effect hereunder may not exceed the
maximum rate of interest permitted under Oklahoma law, unless the determination of the maximum rate of
interest is preempted by federal law.

(C) Noagreements, conditions, provisions or stipulations contained in this Agreement or any Other
Agreements between Borrower and Lender or default of Borrower, or the exercise by Lender of the right to
accelerate the Liabilities, or to exercise any option whatsoever contained in this Agreement or any Other
Agreement between Borrower and Lender, or the arising of any contingency whatsoever, shall entitle Lender
to collect, in any event, interest exceeding the Maximum Legal Rate and in no event shall the Borrower be
obligated to pay interest exceeding such Maximum Legal Rate and all agreements, conditions or stipulations,
if any, which may in any event or contingency whatsoever operate to bind, obligate or compel Borrower to
pay arate of interest exceeding the Maximum Legal Rate, shal] be without binding force or effect, at
law or in equity, to the extent only of the excess of interest over such Maximum Legal Rate. In the event
any interest is charged in excess of the Maximum Legal Rate (“Excess”), Borrower acknowledges and
stipulates that any such charge shall be the result of an accident and bona fide error, and such Excess shall
be, first, applied to reduce the principal then unpaid hereunder; second, applied to reduce the Liabilities; and
third, returned to Borrower, it being the intention of the Parties hereto not to enter at any time into a
usurious or otherwise illegal relationship. Borrower recognizes that, with fluctuations in the Contract Rate

 

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the Maximum Legal Rate, such an unintentional result could inadvertently occur, By the execution of this
Agreement, Borrower covenants that (i) the credit or return of any Excess shall constitute the acceptance by
Borrower of such Excess, and (ii) Borrower shall not seek or pursue any other remedy, legal or equitable,
against Lender based, in whole or in part, upon the charging or receiving of any interest in excess of the
maximum authorized by applicable law. For the purpose of determining whether or not any Excess has been
contracted for, charged or received by Lender, all interest at any time contracted for, charged or received by
Lender in connection with this Agreement, shall be amortized, prorated, allocated and spread in equal parts
during the entire term of this Agreement.

(D) The provisions of Section 2.5(C) shall be deemed to be incorporated. into every document or
communication relating to the Liabilities which sets forth or prescribes any account, right or claim or
alleged account, right or claim of Lender with respect to Borrower (or any other obligor in respect of
Liabilities), whether or not any provision of Section 2.5(C) is referred to therein.

(E) _ If the applicable state or federal [aw is amended in the future to allow a greater rate of
interest to be charged under this Agreement or the Other Agreements than is presently allowed by
applicable state or federal law, then the limitation of interest hereunder shall be increased to the maximum rate
of interest allowed by applicable state or federal law as amended, which increase shall be- effective hereunder
on the effective date of such amendment, and all interest charges owing to Lender by reason thereof shall be
payable in the event of default or upon the Termination Date, whichever occurs first.

2.6 Computation of Interest. Subject to the limitations provided above, interest on the Revolving
Credit Note shall be computed on the basis of actual days elapsed and a 360-day year. The Prime Rate in effect
shall be determined by Lender on a daily basis, with adjustments to such Prime Rate to be made on the same date
as any change in the Prime Rate is determined by Lender, which rate shall be used in computing the Contract
Rate which is payable until the next announced change in the Prime Rate.

2.7 LoanPurpose. Borrower shall use the proceeds of any advances and re-advances made under this
Agreement by Lenderto Borrower for the purposes of working capital needs of Borrower and other uses
permitted under this Agreement, which uses shali be only for legal and proper purposes (duly authorized in
accordance with its governing documents) which are consistent with the terms of this agreement and all
applicable laws and statutes.

2.8 All Advances to Constitute One Loan. All evidences of credit, loans and advances made by
Lender to Borrower under this Agreement and the Other Agreements shal! constitute one loan and all
indebtedness and obligations of Borrower to Lender under this Agreement and all Other Agreements shall
constitute one general obligation secured by Lender’s security interest in all of the Collateral and by al] other
security interests, liens, claims and encumbrances heretofore, now, or at any time or times hereafter granted
by Borrower to Lender or otherwise acquired by Lender. Borrower agrees that all of the rights of Lender
set forth in this Agreement shall apply to any modification of or supplement to this Agreement and the
Other Agreements. In the event there are affiliated companies collectively designated as Borrower, it is
specifically agreed that Lender may make loans and advances to any one of such affiliated companies collectively
designated as Borrower, and such loans and advances shall be deemed a Joan and advance to all of the affliated
companies.

2.9 Monthly Accountings. Lender wil] provide Borrower monthly with a statement of advances,
charges and payments made pursuant to this Agreement and the Revolving Credit Note and such account
rendered by Lender shall be deemed binding unless Lender is notified in writing to the contrary within thirty
(30) days after each account rendered.

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3s PAYMENT OF LIABILITIES

3.1 Payments. All payments to Lender shall be payable at Lender’s address set forth in this
Agreement or at such other place or places as Lender from time to time may designate in writing to Borrower.

(A) Interest payable pursuant to this Agreement shall be due on the first day of each month (for the
immediately preceding month) unless Lender sooner demands payment as permitted in this Agreement;

(B) Costs, fees and expenses payable pursuant to this Agreement shall be payable by Borrower to Lender
or to such other Person(s) designated by Lender in writing, on demand;

(C) Principal, payable on account of loans or advances made by Lender to Borrower under the
Revolving Credit Note shall be due and payable on or before the expiration of the term specified in Section
23 unless sooner demanded as a result of termination or default; provided, however, that prior to the time
determined for payment all collections received by Lender with respect to any proceeds of the Collateral which
are not applied to interest shall be applied against the principal, subject to the provisions of Section 3.2 below.

(D): The balance of the Liabilities, if any, shall be payable by Borrower to Lender as and when
provided in this Agreement or the Other Agreements or upon an Event of Default or on the Termination Date,
whichever first occurs.

3.2 Receipt of Payment. In the event Borrower (which for purposes of this Section shall include its
Affiliates, owners, directors, officers, employees, agents or those Persons acting for or in concert with Borrower)
shall receive any cash, checks, notes, drafts or any other payment telating to and/or proceeds of the
Collateral, no later than the first business day following receipt thereof, Borrower shall deliver the same
or cause the same to be delivered to Lender, at Lender’s address set forth in this Agreement, for application
on account of the Liabilities as provided in Section 3.3 below, until such time as Lender has established a

depository account at a bank for the deposit of such payments, and, thereafter, Borrower shall (a) deposit.

or cause the same to be deposited, inkind, in the special account so established by Lender for application on

account of the Liabilities as’provided in Section 3.3 below and (b) maintain copies of checks and, upon
request, forward to Lender, on a daily basis, copies of all checks or other items of payment and deposit slips
related thereto, together with a collection report in form and substance satisfactory to Lender. All cash payments
and all checks, drafts, or similar items of payment by or for the account of Borrower shall be the sole and
exclusive property of Lender immediately upon the earlier of the receipt of such items by Lender or the
receipt of such items by Borrower. Borrower agrees that its shal] hold any such cash, checks, notes, drafts or

any other payment relating to and/or proceeds of the Collateral in trust and safekeeping for Lender separate
from the Company's other property and funds pending delivery or deposit thereof as set forth in this Section.
Borrower further acknowledges and agrees that any negotiation or other handling of such items other than as
required to deliver the same to the account of Lender as set forth in this Section shall be deemed conversion of
such items and may subject Borrower to civil and/or criminal] liability and, without thereby waiving pursuit of any
other remedy for default, shall entitle Lender to a fee of 25% of the amount of any such item converted to cash or
cash equivalents in compensation for the expenses of Lender occasioned by such conversion. Borrower further
acknowledges and agrees that Borrower’s liability arising from such conversion and the breach of its obligation to
hold such items in trust may not be dischargeable in bankruptcy or any other insolvency proceeding. Provided,
however, that (i) for the purpose of computing interest hereunder such items shall be applied by Lender on
account of the Liabilities five business days after same have been depo sited into Lender’s operating bank
account, and (ii) no such item received by Lender shall constitute payment to Lender unless such item is
actually collected by the bank at which Lender maintains its operating account and such collection is credited
to Lender’s account. In the event Borrower elects to deliver to Lender on account of the Liabilities payment
other than by good funds, such payment shall be applied by Lender on account of the Liabilities five business
days after the date the same is deposited into Lender’s operating bank account. Notwithstanding anything to

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the contrary herein, all such items of payment sball, solely for the purpose of determining the occurrence
of an Event of Default, be deemed received upon actual receipt by Lender, unless the same is
subsequently dishonored for any reason whatsoever. All payments made by or on behalf of and all credits due
any Borrower may be applied and reapplied in whole or in part to any of the Liabilities to the extent and in the
manner Lender deems advisable in its sole discretion.

3.3 Application of Payments and Collections. Borrower irrevocably waives the right to direct
the application of any and all payments and collections at any time or times hereafter received by Lender from
or on behalf of Borrower, and Borrower does hereby irrevocably agree that Lender shall have the continuing
exclusive right to apply and reapply any and all such payments and collections received at any time or times
hereafter by Lender or its agent against the Liabilities, in such manner as Lender may deem advisable in its
sole discretion, notwithstanding any entry by Lender upon any of its books and records.

4, GRANT OF SECURITY INTEREST.

4.1 Secunty interest To secure the prompt payment, performance and observance in full of all
Liabilities, Borrower hereby grants to Lender acontinuing security interest in, a lien upon, and a right of
setoff against all present and future accounts, instruments, documents, chattel paper, general intangibles, deposit
accounts, investment property, commercial tort claims, letter of credit rights, letters of credit, inventory,
machinery, and equipment, whether now owned or existing, hereafter acquired or arising, or in which
Borrower now or hereafter has any tights, and where so ever located, including without limitation: (a) all
Accounts, whether now existing or hereafter arising; all chattel paper, documents and instruments, whether now
existing, or hereafter arising relating to Accounts; and all rights now or hereafter existing in and to all security
agreements, leases, and other contracts securing or otherwise relating to Accounts or such chattel paper,
documents, and instruments; (b) all General Intangibles of any kind, whether now existing or hereafter arising;
all chattel paper, documents and instruments whether now existing or hereafter arising relating to General
Intangibles; and all rights now or hereafter existing in and to all security agreements, leases, and contracts
securing or otherwise relating to General Intangibles or such chattel paper, documents, and instruments; (c) all
inventory in all of its forms, whether now owned or hereafter acquired and wherever located; and all accessions
or additions thereto, products thereof, whether now owned or hereafter acquired; (d) all goods, machinery,
equipment, furniture, and fixtures in all of its forms, whether now owned or hereafter acquired and wherever
located; all parts thereof; attachments, accessions, and additions thereto; and all replacements and substitutions
therefor; and (e) the proceeds, products, additions to, substitutions for and accessions of any property described
in subparagraphs (a), (b), (c) and (d) above.

4.2 Nerification of Accounts: Inspection, Audit. Any of Lender’s officers, employees or agents shall
have the right, at amy time hereafter, in Lender’s name, in the name ofa certified public accounting firm, or in the

name of Borrower, to verify the validity, amount or any other matter relating to any Accounts by mail, telephone
or otherwise. Lender (by any of its officers, employees or agents) shall have the right, at any time, during
Borrower’s usual business hours, to inspect any of the business locations or premises of Borrower, the
Collateral, all records related to the Collateral (and to make extracts from such records), the premises upon
which any of the Collateral is located, and all books and records relating to the Borrower’s Collateral or the
collection thereof as well as those relating to Borrower’ s general business and financial condition, and the right,
at any time, to discuss Borrower’s affairs and finances and the Collateral with any attorney, accountant,
Account Debtor or creditor of Borrower.

5. GENERAL WARRANTIES AND REPRESENTATIONS

5.1 General Warranties and Representations. Borrower warrants and represents that during the term
of this Agreement and so long as any of the Liabilities remain unpaid:

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(A) Borrower isa Florida limited liability company duly organized and existing and in good standing
under the laws of the jurisdiction of its formation set forth above, qualified or licensed to do business in al] other
jurisdictions in which Borrower does business which require Borrower to be so qualified or licensed;

(B) Borrower is in compliance with all requirements of law except to the extent that the failure to
comply therewith would not, in the aggregate, have a material adverse effect on the business, operations,
property or financial or other condition of Borrower and would not materially adversely affect the ability of
Borrower to perfomn its obligations under this Agreement, the Revolving Credit Note and the Other Agreements;

(C) Borrower has not, during the preceding five (5) years, used any other business location or been
known as or used any other corporate or fictitious name, except as disclosed to Lender;

(D) Borrower has the requisite power and authority to make, deliver and perform this Agreement, the
Revolving Credit Note, and the Other Agreements and has taken necessary action to authorize the borrowings on .
the terms and conditions of this Agreement, the Revolving Credit Note, and the Other Agreements;

(E) Bortower’s use of the proceeds of any advances and re-advances made by Lender to
Borrower pursuant to this Agreement are, and will continue to be, legal and proper uses (duly authorized in
accordance with its governing documents) and such uses are consistent with all applicable laws and statutes, as
now or hereafter in effect;

(F) Borrower possesses and is in compliance with the tems of all governmental approvals, permits,
certificates, inspections, consents and franchises necessary to continue to conduct its business as heretofore
conducted by it and to own or lease and operate its properties as now owned or Jeased by it, and none of said
governmental approvals, permits, certificates, inspections, consents or franchises contain any term, provision,
condition or limitation more ‘burdensome than such as are generally applicable to Persons engaged in the
same or similar business as Borrower;

(G) Borrower possesses adequate assets, licenses, patents, patent applications, copyrights, trademarks,
trademark applications, service marks, service mark applications and trade names to continue to conduct its
business;

(H) Borrower now has capital sufficient to carry on its business and transactions and all
businesses and transactions in which it is about to engage and is now solvent and able to pay its debts as they
mature and Borrower now owns property whose fair saleable value is greater than the amount required to
pay its debts;

There are no controversies pending or threatened between Borrower and any of its employees
(other than employee grievances arising in the ordinary course of business) which are, in the aggregate, material
to the continued financial success and well-being of Borrower;

(J) The most recent financial statement of Borrower fairly presents the assets, liabilities, and
financial condition and results of operations of Borrower and such other Persons. described therein as of
the date thereof, in accordance with generally accepted accounting principles applied on a consistent basis,
and there are no omissions or other facts or circumstances which are or may be material. There bas been
no material and adverse change in the assets, liabilities or financial condition of Borrower since the date of
such financial statement; there exist no equity or long term investments in or outstanding advances to any
Person not reflected in the financial statements; except for those disclosed in the financial statements.
Borrower has not guaranteed the obligations of any other Person. Each such financial statement, including the
related schedules and notes thereto, has been prepared in accordance with generally accepted accounting

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principles applied consistently throughout the periods involved (except as disclosed in the respective statement
or in said Jettez);

(K) Borrower is not a party to any contract or agreement or subject to any charge, restriction,
Judgment, decree or order which does or which will materially and adversely affect its business, property,
assets, operations or condition, financial or otherwise, is not a party to any labor dispute, and there are no
strikes or walkouts relating to any labor contracts and no such contract is scheduled to expire during the term
of this Agreement;

(L) No litigation, investigation or proceeding of or before any arbitrator or governmental authority
is pending or threatened by or against Borrower or any of its Affiliates which, if adversely determined, would
have a material adverse effect on the business, operations, property or financial or other condition of the
Borrower and its Affiliates taken as a whole;

(M) Borrower is not nor will it be in violation of any applicable statute, regulation or ordinance
of atty governmental entity, including, without limitation, the United States of America, any state, city,
town, municipality, county or of any other jurisdiction, or of any agency thereof, in any respect materially
and adversely affecting the Collateral or its business, property, assets, operations or condition, financial or
otherwise; .

(N) Borrower has filed or caused to be filed all tax retums which are required to be filed, and
has paid all taxes shown to be due and payable on said retums or on any assessments made against it.and
all other taxes, fees or other charges imposed on it by a governmental authority (other than those the
amount or validity of which is currently being contested in good faith by appropriate proceedings and with
respect to which reserves in conformity with generally accepted accounting principles have been provided on
the books of Borrower); and no tax liens bave been filed and no assessments are being asserted or threatened
with respect to any such taxes, fees or other Charges;

(QC) No representations, warranties or any other statements made by Borrower or, to the best
knowledge of Borrower, or any other party, in this Agreement, any Other Agreement, or in any other
document referred to herein or furnished from time to time in connection herewith contains or will contain any
untrue statement of a material fact or omits or will omit to state any material fact necessary to make the
statements herein or therein not misleading;

(P) __ Except for the Lien granted to Lender pursuant to this Agreement or the Liens permitted under
Section 6.2(1) hereof, Borrower is the sole owner of each item of the Collateral pledged by it, having good,
indefeasible and marketable title thereto, free and clear of any and all Liens. No amounts payable under or in
connection with any of the Accounts are evidenced by promissory notes or other instruments;

: (Q) No security agreement, financing statement, equivalent security or lien instrument or
. continuation statement covering all or any part of the Collateral is on file or of record in any public office,
except such as may have been filed (i) by Borrower in favor of Lender pursuant to this Agreement or ‘(ii)
in respect of the items of Collateral subject to the Liens permitted under Section 6.2(1); and

®) Borrower's Federal Employment Identification Number is XX-XXXXXXX.

(Q) Neither Borrower nor any of its Affiliates, nor any of their respective partners, members,
shareholders or other equity owners, and none of their respective employees, officers, directors, representatives or
agents, nor any Account Debtor is a person or entity with whom U.S. persons or entities are restricted from doing
business under regulations of the Office of Foreign Asset Control (“OFAC”) of the Department of the Treasury
(mcluding those named on OFAC’s Specially Designated and Blocked Persons List) or under any e,

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executive order (including the September 24, 2001, Executive Order Blocking Property and Prohibiting
Transactions with Persons Who Commit, Threaten to Commit, or Support Terrorism), or other governmental
action

5.2 Reaffirmation of Warranties and Representations, Each request for an advance made by
Borrower pursuant to this Agreement or the Other Agreements shall constitute (i) a warranty and
representation by Borrower to Lender that there does not then exist an Event of Default or any event or
condition which, with notice, lapse of time or both and/or the making of such advance, would constitute an
Event of Default and (ii) a reaffirmation as of the date of said request of all of the representations and
warranties of Borrower contained in this Agreement or the Other Agreements as if such representations and
warranties were made on the date of such request.

5.3 Survival of ‘Warranties and Representations. Borrower covenants, warrants and represents to
Lender that all representations and warranties of Borrower contained in this Agreement and the Other
Agreements shall be true at the time of Borrower’s execution of this Agreement and the Other Agreements, shall
survive the execution, delivery and acceptance thereof by the parties thereto and the funding of the transactions
described therein or related thereto, and the payment of the Liabilities. Borrower and Lender expressly agree that

any misrepresentation or breach of any warranty whatsoever contained in this Agreement or the Other
Agreements shall be deemed material.

6. GENERAL COVENANTS AND OTHER AGREEMENTS
6.1 Affirmative Covenants. Borrower covenants that it shall:

(A) Keep books ofaccount and prepare financial statements and shall cause to be furnished to Lender
the following (all of the foregoing and following to be kept and prepared in accordance with generally
accepted accounting principles, unless Borrower’s certified public accountants concur in any changes
therein and such changes are disclosed to Lender and consistent with then generally accepted accounting
" principles): (i) as soon as available, but not later than ninety (90) days after the close of each fiscal year of
Borrower hereafter, financial statement of Borrower and its subsidiaries on a consolidated basis, including
balance sheet and income statement, as of the end of such year; (ii) as soon as available, but not later than
thirty (30) days after the end ofeach month hereafter, an unaudited consolidated and consolidating monthly
financial statement of Borrower and its subsidiaries as at the end of the portion of Borrower’s fiscal year
then elapsed, a balance sheet and a year-to-date income statement, and five (5) days after the end of each
month hereafter, an aging of accounts receivable, an aging of accounts payable, and an Account Debtor name
and address listing, all prepared in accordance with generally accepted. accounting principles and fairly
presenting the consolidated and consolidating financial position and results of operations of Borrower and
its subsidiaries for such period; (iii) concurrently with the filing or delivery thereof, all required federal
securities reports and statements, as well as all reports to shareholders; and (iv) such other data and information
(financial and otherwise) as Lender, from time to time, may reasonably request, bearing upon or related to
the Collateral, Borrower’s financial condition and/or results of operations;

(B) Notify Lender in writing, within three (3) business days after learning thereof, of any
litigation whether or not the claim is considered by Borrower to be covered by insurance, and of the
institution. of any suit or administrative proceeding which may materially and adversely affect the
operations, condition (financial or other) or business of Borrower and its Affiliates taken as a whole, or
Lender’s Liens on, and security interest in, the Collateral, or rights pursuant to any Other Agreement;

(C) File all federal, state and local tax retums (providing copies to Lender) and other reports
Borrower is required by law to file, maintain adequate reserves for the payment of all taxes,

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assessments, governmental charges, and other similar charges, and pay promptly, when due, all such taxes,
assessments, and other charges;

(D) Provide Lender with copies of al} agreements between Borrower or any of its Affiliates and
any warehouse at which inventory may, from time to time, be kept and all leases or similar agreements
between Borrower or any of its Affiliates and any other Person, whether Borrower or its Affiliate is lesso
or lessee thereunder;

(E) Notify, and shall cause each ofits Affiliates to notify, Lender in writing, (i) within three (3)
days after the creation thereof, of each Lien permitted by Section 6.2(1) hereof and (ii) promptly upon
obtaining possession-of any property subject toa Lien permitted by Section 6.2(D hereof of the date Borrower
obtains such possession;

(F) Maintain the Collateral, as the same is constituted from time to time, free and clear of all liens,
claims, security interests and encumbrances, except those held by Lender and any Lien permitted by Section
6.21) hereof;

(G) Within thirty (30) days after the date of this Agreement, (i) properly file, register and record
each document (including, without limitation, UCC financing statements, control agreements and applications
for certificates of title) required or, in Lender’s or Lender’s counsel’s opinion, advisable to be filed,
registered or recorded in order to perfect a Lien on the Collateral in each office in each jurisdiction in
which such filings, registration and recordation are required; (ii) cause Lender’s Lien to be noted on each
document of ownership or title as to which evidence of Lender’s Lien is necessary or, in Lender’s or

‘ Lender’s counsel’s opinion, advisable to be shown in order to perfect Lender’s Lien on the Collateral covered by
such document, (iii) furnish to Lender acknowledgment copies of all such filings, registrations and
recordation stamped by the appropriate filing, registration or recording officer, and evidence that all necessary
filing subscription and inscription fees and all recording and other similar fees, and all taxes and other expenses
related to such filings, registrations, recordings and notations have been paid in full by or on behalf of Borrower;

(A) Notify Lender in writing, promptly upon its learning thereof, of any event or occurrence
which might constitute a breach or Event of Default by any Borrower under the representations, warranties
and covenants herein given;

Do or cause to be done all things necessary to preserve and keep in full force and effect its
existence, rights and franchises and comply with all laws applicable to it; maintain Borrower's qualification
and good standing in all states in which such qualification and good standing are necessary in order for
Borrower to conduct its business and own its property as conducted and owned in such states; continue
to conduct its business substantially as now and proposed to be conducted; and at all times maintain,
preserve and protect all franchises, trade names, copyrights, trademarks, assets, licenses, patents to
conduct its business substantially as heretofore conducted by it, and preserve all the remainder of its
property in use or useful in the conduct of its business and keep the same in good repair, working order and
condition and from time to time make, or cause to be made, all needful and proper repairs, renewals and
replacements, betterments and improvements thereto so that the business carried on in connection therewith
may be properly and advantageously conducted at all times;

(1) — Except as otherwise provided herein, Borrower shall (i) pay and discharge or cause to be paid
and discharged all its Indebtedness and other obligations (other than indebtedness or obligations contested
in good faith) as and when due and payable (but will not prepay any such Indebtedness or other obligations
without Lender’s prior written consent) and (ii) pay and discharge or cause to be paid and discharged promptly
all Liens, taxes and Charges, before the same shall become in default, as well as all lawful claims for labor,
materials and supplies or otherwise which, if unpaid, might become a Lien upon. such properties op/any

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part thereof (other than Liens, taxes, and Charges the amount or validity of which is being contested in good
faith

. (®) | Advise Lender, by written notice delivered to Lender at least thirty (30) days prior thereto,
of Borrower’s opening of any new office or place of business or Borrower’s closing of any existing office or
place of business;

(L) Notify Lender in writing, promptly upon Borrower’s learning thereof, of any material labor
dispute to which Borrower may become a party, any strikes or walkouts relating to any of its plants or other
facilities, and the expiration. of any labor contract to which Borrower is a party or by which Borrower is bound;

(M) ‘Comply withall laws, statutes, regulations and ordinances of any governmental entity, or of any
agency thereof, applicable to Borrower a violation of which, in any respect, may materially and adversely
affect the Collateral or Borrower’s business, property, assets, operations or condition, financial or
otherwise;

(N) — Notify Lender in writing, within five (5) business days after occurrence thereof, of
Borrower’s default under any note, indenture, loan agreement, mortgage, Jease, deed or other similar
agreement to which Borrower is a party or by which Borrower is bound;

(O) Borrower shall notify Lender, in writing, within ten (10) days of the change of its name or use of
any trade names or division names not previously disclosed to Lender in writing; .

6.2 Negative Covenants. Without Lender’s prior written consent, which Lender may or may not,
in its sole discretion, give concurrently herewith or hereafter, Borrower covenants that it shall not:

(A) Acquire by any means any additional assets during any fiscal year, > exeluding only fixed assets,
Accounts and inventory;

(8) Makeany investment in the securities of any Person, nor make any other investment other than
in cash equivalents and Accounts, contract rights and notes receivable arising in the ordinary course of
business;

(C) During any fiscal year, purchase, acquire, retire, call or redeem or make any commitment
to purchase, acquire, retire, call or redeem any ownership interest in Borrower, declare or pay any dividends or
distributions thereon, make any distributions of Borrower’s property or assets or make any loans, advances
and/or extensions of credit to any Persons;

(@) Except as previously disclosed to Lender, make any loans or other advances of money
(other than salary) to officers, directors, stockholders, Affiliates of Borrower or any Persons;

(E) Makeany material change in Borrower’s capital structure or in any of its business objectives,
purposes and operations which might in any way adversely affect the repayment of the Liabilities;

(F) Directly or indirectly purchase, acquire or lease any property from, or sell, transfer or lease
any property to, orlend or advance any money to, or borrow any money from, or securities of, or enter
into any merger or consolidation agreement, or any management consulting fee arrangement or enter into, or
be a party to, any other transaction or otherwise deal with any Affiliate, owner, officer, employee, manager,
director (or other Person having governing authority over Borrower) of Borrower, except in the ordinary
course of and pursuant to the reasonable requirements of Borrower’s business and upon fair and reasonable
terms which are fully disclosed at least ten (10) business days in advance to Lender,

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(G) Enter into any transaction which materially and adversely affects the Collateral or Borrower’s
ability to repay the Indebtedness or permit or agree to any extension, compromise or settlement or make any
change or modification of any kind or nature with respect to any Account, including amy of the terms relating
thereto;

Guarantee or otherwise, in any way, become liable with respect to the obligations or liabilities of
any Person, except (i) the Liabilities, and (ii) by endorsement of instruments or items of payment for deposit to
Borrower’s general account or for delivery to Lender on account of Liabilities;

(1) Except as otherwise expressly permitted herein or in the Other Agreements, encumber,
pledge, mortgage, grant a security interest in, assign, sell, lease or otherwise dispose of or transfer, any of
the Borrower’s assets otber than (i) Liens in favor of the Lender, (ii) Liens securing purchase-money debt
(other than for inventory) up to the amount permitted in accordance with Section 6.2(J) hereof, but not
encumbering any assets other than those acquired with the proceeds of such purchase-money debt, (iii)
Liens for property taxes not yet due and (iv) materialmen’s, mechanics’, workmen’s, repairmen’s, employees’
or similar Liens arising against Borrower or any of its Affiliates in the ordinary course of business, in each
case which are cither not delinquent or are being contested in good faith and by appropriate proceedings
conducted with due diligence (so long as such proceedings do not involve any risk of the sale, forfeiture or
loss of any material portion of the property of Borrower or such Affiliate or any interest therein) and’ for the
payment of which adequate reserves have been provided; (v) deposits to secure payment of workmen’s
compensation, unemployment insurance and other social security benefits; and (vi) statutory or judgment
liens being contested in good faith by appropriate proceedings and for the payment of which adequate reserves
have been provided;

(J) — Create, assume or suffer to exist any Indebtedness for borrowed money or issue or sell any
obligation of the Borrower (whether absolutely, contingently or otherwise), excluding only: (i) the debt
evidenced by the Note; (ii) accounts payable and accrued liabilities arising in the ordinary course of Borrower’s
business; (iii) the execution of bonds, undertakings or contracts and obligations for trade payables in the usual
course of Borrower’s business which are not for the purpose of obtaining money; and (iv) indebtedness
purchase-money debt incurred for the acquisition of fixed assets;

(K) (i) Remove its books and records or the Collateral from the locations noted in Schedule B
except (a) for removal of inventory upon its sale in the ordinary course of business and (b) for Equipment
(if applicable) to the extent permitted herein or (ii) keep any of such books and records at any other office(s)
or location(s) unless Borrower gives Lender written notice thereof and of the new location of said books
and records at least thirty (30) days prior thereto and such other office or location is within the
continental United States of America;

(L) Make any change in the date of its fiscal year end; or
(M) _ Direct, receive or deposit the proceeds of Collateral into any account other than Lender’s.

6.3 Contesting Charges. Notwithstanding anything to the contrary herein, Borrower may dispute
any Charges without prior payment thereof, even if such non-payment may cause a Lien to attach to
Borrower’s assets, provided that Borrower shall have given Lender written notice of said dispute and
shall be diligently contesting the same in good faith in au appropriate proceeding and, provided further that, if
the same are in excess of $5,000.00 in the aggregate at any time or times hereafter, Borrower has given
Lender such additional collateral and assurances as Lender, in its sole discretion, deems necessary under the
circumstances.

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6.4 Payment of Charges. Subject to the provisions of Section 6.3 above, Borrower shall pay
promptly when due all of the Charges. In the event Borrower, at any time or times hereafter, shall fail to
pay the Charges or to promptly obtain the discharge of such Charges, Borrower shall so advise Lender thereof
in writing and Lender may, without waiving or releasing any obligation or liability of Borrower hereunder or
any Event of Default, in its sole discretion, at any time or times thereafter, make such payment, or any part
thereof, or obtain such discharge and take any other action with respect thereto which Lender deems
advisable. All sums so paid by Lender and any expenses, including reasonable attorney’s fees, court costs,
expenses and other charges relating thereto, shall be payable, upon demand, by Borrower to Lender and
shall be additional Liabilities hereunder secured by the Collateral. Lender shall be subrogated to the rights of the
payee of any such sums.

6.5 Survival of Obligations Upon Termination of Agreement. Except as otherwise expressly provided
for in this Agreement and in the Other Agreements, no termination or cancellation (regardless of cause or

procedure) of this Agreement or the Other Agreements shall in any way affect or impair the powers,
obligations, duties, rights, and liabilities of Borrower or Lender in any way or respect relating to: (a) any
transaction or event occurring prior to such termination or canceljation; (b) the Collateral; and/or (c) any of
the undertakings, agreements, covenants, warranties and representations of Borrower or Lender contained in
this Agreement or the Other Agreements. All such undertakings, agreements, covenants, warranties and
representations shall survive such termination or cancellation.

7. ACCOUNTS: WARRANTIES AND REPRESENTATIONS, COVENANTS AND
MISCELLANEOUS TERMS.

7.1. Account Warranties and Representations. With respect to Accounts, Borrower warrants and
represents to Lender that during the term of this Agreement and so long as any of the Liabilities remain
unpaid: (a) in determining which Accounts are Eligible Accounts on any Schedule of Accounts, Lender may rely
upon all statements or representations made by Borrower on Schedules of Accounts at the time said
Schedule of Accounts is provided to Lender and so long as there are any Liabilities outstanding, unless
otherwise expressly indicated by Borrower to Lender in writing; and (b) those Accounts designated as Eligible
Accounts on any Schedule of Accounts meet each eligibility requirement at the time said Schedule of Accounts is
provided to Lender.

72 Covenants with Respect ta Accounts.

(A) Assignments, Records and Schedules of. Accounts. Borrower shall execute and deliver to Lender
written assignments of all of its Accounts no less often than weekly, together with copies of invoices, proof of
delivery or acceptance of services provided, and purchase orders related thereto. Borrower shall keep accurate
and complete records of its Accounts and within five (5) days of the last day of each month from and after the
date hereof, Borrower shall deliver to Lender, in form and substance acceptable to Lender, a detailed aged trial
balance of all then existing Accounts specifying the face value and dates of invoice(s) for each Account
Debtor (identified by name and address) obligated on an Account so listed and which of such Accounts
are Eligible Accounts (“Schedule of Accounts”), copies of customer statements and, upon demand, the
original copy of all documents, including, without limitation, repayment histories and present status reports,
relating to the Accounts so scheduled and such other matters and information relating to the status of then
existing Accounts as Lender shall reasonably request. Borrower shall not re-date any invoice or sale or make
sales on payment terms dating beyond, or otherwise less favorable to Borrower than, that customary in
Borrower’s industry. If Borrower becomes aware of anything materially detrimental to Borrower’s customers’
credit, Borrower shall promptly advise Lender thereof.

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Borrower understands that the submission of Account assignments to Lenderis to allow Lender to
monitor the Borrowing Base and does not affect or limit Lender’s security interest in the Collateral. Failure by
Borrower to submit the Account assignments shall, at Lender’s option, constitute an Event of Default hereunder,

(B) Notice Regarding Disputed Accounts. In the event any amounts due and owing in excess of
$5,000.00 are in dispute between any Account Debtor and Borrower, Borrower shall provide Lender with
written notice thereof at the time of submission of the next collateral report pursuant to Section 7.2(A) above,
explaining in detail the reason for the dispute, all claims related thereto and the amount in controversy. In
the event any Account becomes evidenced by a promissory note, trade acceptance or any other instrument
for the payment of money, Borrower shall immediately thereafter deliver such instrument to Lender,
appropniately endorsed to Lender, and, regardless of the form of presentment, demand, notice of dishonor,
protest and notices of protest with respect thereto; ;

(C)  Dutyto Inform Lender about Defenses, Offsets, Credits, Etc. Unless Lender notifies Borrower in
writing that Lender suspends any one or more of the following requirements, promptly upon, but in no event later

than three (3) business days.after: (i) Borrower’s learning thereof, inform Lender, in writing, of any material
delay in Borrower’s performance of any of its obligations to any Account Debtor and of any assertion of any
claims, offsets or counterclaims by any Account Debtor and of any allowances, credits and/or other monies
granted by Borrower to any Account Debtor; (ii) Borrower’s receipt or learning thereof, furnish to an inform
Lender ofall material adverse information relating to the financial condition of any Account Debtor;

(D) Conversion of Eligible Accounts into Ineligible Accounts. Borrower shall notify Lender in
writing within three (3) business days after, Borrower’s leaming thereof, in the event any Eligible Account

becomes or could reasonably be expected to become ineligible and of the reason(s) for such ineligibility.

; 7.3 Eligible Accounts. Upon the delivery to Lender of a Schedule of Accounts as described in
Section 7.2(A) hereof, Lender shall make a determination, in the exercise of its sole discretion, as to which
Accounts are to be Eligible Accounts.

7.4 Collections; Lender’s Right to Notify Account Debtors and to Endorse Borrower’s Name.

Borrower hereby authorizes Lender, now and at any time or times hereafter, to (i) open Borrower’s mail
and collect any and all amounts due to Borrower from Account Debtors, including, without limitation, endorsing
Borrower’s name, (ii) notify or direct the Borrower to notify any or all Account Debtors that the
Accounts have been assigned to Lender and that Lender has a security interest therein and (iii) direct or
cause the Borrower to direct such Account Debtors. to make all payments due from them to Borrower upon
the Accounts directly to Lender orto a lock box or similar account designated by Lender. Lender shall
promptly furnish Borrower with a copy of any such notice sent and Borrower hereby agrees that any such
noticé, .in Lender’s sole discretion, may be sent on Borrower’s stationery, in which event, Borrower shall
co-sign such notice with Lender. ‘

8. CONDITIONS PRECEDENT

8.1 Conditions of Initial Loan. The obligation of Lender to make any loan under the Agreement on
the Closing Date is subject to the satisfaction of the following conditions precedent: (a) Lender shall have
received the Revolving Credit Note conforming to the requirements hereof ; (b) All Uniform Commercial
Code financing statements required or, in Lender’s opinion, advisable io be filed in order to create, in favor
of the Lender, a perfected Lien on the Collateral with respect to which a Lien can be perfected by means of
filing 2 Uniform Commercial Code financing statement (or for the filing of an application for certificate of
title), shall have been properly filed in each office in each jurisdiction in which such filings are required or, in
Lender’s opinion, advisable; and (c) All other docurnents and legal matters in connection with the

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transactions contemplated by the Agreement and the Other Agreements shall be satisfactory in form and
substance to Lender and its-counsel.

9. EVENTS OF DEFAULT: RIGHTS AND REMEDIES ON DEFAULT

9.1 Event of Default. The occurrence of any one or more of the following events shall constitute an
“Event of Default”: (2) Borrower fails to pay the Liabilities when due and payable or declared due and -
payable or is in default in the payment ofall or any portion of the Indebtedness or Borrower fails or neglects
to perform, keep or observe any other term, provision, condition, covenant, warranty or representation
contained in this Agreement or in the Other Agreements, which is required to be performed, kept or
observed by Borrower; (b) Borrower fails to: (i) deposit in the special account any proceeds of Collateral in strict
compliance with the requirement of Section 3.2 hereof, or (ii) to comply fully with Section 4.2 hereof, (c) a
default shall occur under any agreement, document or instrument (subject to any right to cure therein), other
than this Agreement, hereafter existing, to which Borrower is a party; (d) any statement, report, financial
statement, or certificate made or delivered by Borrower, or any ofits officers, employees or agents, to Lender
is not true and correct, in any material respect; (e) there shall occur any material uninsured damage to or loss,
theft, or destruction of any of the Collateral; (f) the Collateral or any other assets of Borrower or any of its
Affiliates shall be attached, seized, levied upon subjected to a writ or distress warrant, or come within
the possession of any receiver, trustee, custodian. or assignee for the benefit of creditors and the same is not
cured within thirty (30) days thereafter; or ifa decree or order is rendered bya court having jurisdiction for
the appointment of a receiver, trustee, or custodian for any assets of Borrower or any of its Affiliates and the
same is not dismissed within thirty (30) days after the application therefor; (g) an application is made by or
against Borrower for relief under any section or chapter of the Bankruptcy Code or any similar State or Federal
law or regulation or Borrower makes an assignment for the benefit of its creditors; (h) Borrower ceases to,
conduct its business as now conducted without the Lender’s consent or is enjoined, restrained or in any way
prevented by court order from conducting all or any material part of its business affairs; (i) except as permitted
herein, a notice of lien, levy or assessment is filed of record with respect to all or any of Borrower’s
assets by the United States, or any department, agency or instrumentality thereof, or by any state, county,
municipal or other governmental agency or if any taxes or debts owing at any time or times hereafter to any
one of them becomes a lien or encumbrance upon the Collateral or any other or Borrower’s assets and the
same is not released within thirty (30) days after the same becomes a lien or encumbrance; or (j) Borrower
becomes insolvent; has suspended the transaction of its usual business or is generally not paying its debts as
they become due evidenced by Borrower’s admission in writing or otherwise; (k) the occurrence of any
material and adverse change in the business operations and condition, financial or otherwise, of Borrower
or any guarantor of the Liabilities; (1) any guarantor of the Liabilities shall be in default under any
agreement to which it is a party, or demand is made on any such guarantor under the terms of any guaranty
agreement to which such guarantor is a party; (m) there shall be any material, adverse change from the present
consolidated condition or affairs (financial or otherwise) of the Borrower and/or the guarantor that, in the
Lender's reasonable opinion, impairs its Collateral or increases its risk; or (n) there:shall occur any change in the
ownership of the stock of the Borrower.

92 Default Rate of Interest. Upon and after an Event of Default, including, but not limited to, a
breach of the covenants hereunder, the Liabilities shall continue to bear interest, calculated daily on the basis ofa
360-day year at a rate of interest equal to the Default Rate (both before and after judgment) until paid im full, or
the Event of Default is cured, provided, however, that the default rate of interest shall in no event be in excess of
the Maximum Legal Rate.

9.3. Acceleration of the Liabilities. Upon the occurrence of any Event of Default of the kind
referred to in any of paragraphs (g), (h), or (i) of Section 9.1 all of the Liabilities (and accrued interest
thereon) shall automatically and without demand, notice or legal process of any kind, become due and
payable and the Revolving Credit Commitment shall automatically terminate. Upon the occurrengtyand

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continuation of any other Event of Default, all of the Liabilities (and accrued interest thereon) may, at
the option of Lender upon notice to Borrower be declared, and immediately shall become due and payable
and the Revolving Credit Commitment may, at the option of Lender upon notice to Borrower, be
terminated. Notwithstanding any termination, until all of Borrower's Liabilities to Lender of every nature
whatsoever shall have been fully paid and satisfied, Lender shall be entitled to retain its security interest in and
to all existing and future Collateral and Borrower shall continue to turn over all collections of Accounts
and proceeds of other Collateral to Lender for application on the Liabilities.

9.4 Remedies. Upon and after an Event of Default, Lender shall have the following rights and
remedies: (a) All of the rights and remedies of a secured party under the UCC or other applicable law, all
of which rights and remedies shall be cumulative, and non exclusive, to the extent permitted by law, in
addition to any other rights and remedies contained in this Agreement and in all of the Other Agreements; (b)
The right to open mail to Borrower or any of its Affiliates and collect any and all amounts due Borrower
from Account Debtors; (c) The right to (i) enter upon the premises of Borrower or any of its Affiliates,
without any obligation to pay rent, through self-help and without judicial process, without first obtaining a final
Judgment or giving Borrower notice and opportunity for a hearing on the validity of Lender's claim, or any other
place or places where the Collateral is located and kept, and remove the Collateral therefrom to the premises of
Lender or any agent of Lender, for such time as Lender may desire, in order to effectively collect or
liquidate the Collateral, and/or (ii) require Borrower and its Affiliates to assemble the Collateral and make it
available to Lender at a place to be designated by Lender, in its sole discretion; (d) The right to (i) demand
payment of the Accounts; (ii) enforce payment of the Accounts, by legal proceedings or otherwise; (iii)
exercise al] the Borrower’s and its Affiliates’ rights and remedies with respect to the collection of the Accounts;
(iv) settle, adjust, compromise, extend or renew the Accounts; (v) settle, adjust or compromise any legal
proceedings brought to collect the Accounts; (vi) if permitted by applicable law, sell or assi gn the
Accounts; (vii) discharge and release the Accounts; (viii) take control, in any manner, of any item of payment
or proceeds referred to in Section 3.2; (ix) prepare, file and sign Borrower’s name and any of its Affiliates’
name on any proof of claim in bankruptcy or similar document against any Account Debtor: (x) prepare, file
and sign Borrower’s name and any of its Affiliates’ name on any notice of lien, assignment or satisfaction of
lien or similar document in connection with the Accounts; (xi) do all acts and things necessary, in Lender’s
sole discretion, to fulfill Borrower’s obligations under this Agreement; (xii) endorse the name of Borrower or
any of its Affiliates upon any chattel paper, document, instrument, invoice, freight bill, billof lading or similar
document or agreement relating to the Accounts and inventory; (xiii) use Borrower’s and any of its Affiliates’
stationery and sign the name of Borrower or any of its Affiliates to verifications of the Accounts and notices
thereof to Account Debtors; and (xiv) use the information recorded on or contained in any data processing
equipment and computer hardware and software relating to the Accounts and inventory to which Borrower
has access; (e) The right to (i) sell or to otherwise dispose of all or any Collateral in its then condition, or after
any further manufacturing or processing thereof, at public or private sale or sales, with such notice as may be
required by law, in lots or in bulk, for cash or on credit, all as Lender, in its sole discretion, may-deem advisable;
(ii) adjourn such sales from time to time, with or without notice; (iii) conduct such sales on Borrower’s or any of
its Affiliates’ premises or elsewhere and use Borrower’s or any ofits Affiliates” premises without charge for such
sales for such time or times as Lender may see fit; and (vii) the right to postpone or adjoum any sale of the
Collateral from time to time by an announcement at the time and place of sale or by announcement at the time
and place of such postponed or adjourned sale, without being required to give a new notice of sale. .

 

Lender is hereby granted a license or other right to use, without charge, Borrower’s and any ofits
Affiliates’ labels, patents, copyrights, rights of use of any name, trade secrets, trade names, trademarks and
advertising matter, or any property of a similar nature, as it pertains to the Collateral, in completing production
of, advertising for sale and selling any Collateral and Borrower’s or any of its Affiliates’ rights under all licenses
and all franchise agreements shall inure to Lender’s benefit. Lender shall have the right to sell, lease or otherwise
dispose of the Collateral, or any part thereof, for cash, credit or any combination thereof, and Lender may
purchase all or any part of the Collateral at public or, if permitted by law, private sale and, in lieu of actual

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payment of such purchase price, may set off the amount of such price against the Liabilities. The proceeds
realized from the sale of any Collateral shall be applied first to the reasonable costs, expenses and attorneys’ fees
and expenses incurred by Lender for collection and for acquisition, completion, protection, removal, storage, sale
and delivery of the Collateral; second to interest due upon the revolving loan ; and third to the principal of the
revolving loan. If any deficiency shall arise, Borrower shall remain liable to Lender therefor. "

9.5 No Preservation or Marshaling. Borrower agrees that Lender has no obligation to preserve
rights to the Collateral against prior parties or to marshal any Collateral for the benefit of any Person.

9.6 Notice of Collateral Disposition. Any notice required to be given by Lender ofa sale, lease, other
disposition of the Collateral or any other intended action by Lender, deposited in the United States Mail, certified
mail, return receipt requested, postage prepaid and duly addressed to Borrower, at the address set forth in this
Agreement, ten (10) days prior to such proposed action, shall constitute commercially reasonable and fair
notice thereof to Borrower.

9.7 Appointment of Lender as Borrower’s Lawful Attorney. In order to carry out this Agreement,
Borrower irrevocably designates, makes, constitutes and appoints Lender (and all Persons designated by

Lender) as Borrower’s true and lawful attorney (and agent-in-fact) and Lender, or Lender’s agent, may, without
notice to Borrower, and at such time or times thereafter as Lender or said agent, in its sole discretion, may
determine, in Borrower’s or Lender’s name: (i) demand payment of the accounts; (ii) enforce payment of the
Accounts, by legal proceedings or otherwise; (iii) exercise all of Borrower’s rights and remedies with respect
to the collection of the Accounts; (iv) settle, adjust, compromise, extend or renew the Accounts; (v) settle,
adjust or compromise any legal proceedings brought to collect the Accounts; (vi) if permitted by applicable
law, sell or assign the. Accounts upon such terms, for such amounts and at such time or times as Lender
deems advisable, after notice if required by applicable law; (vii) discharge and release the Accounts; (viii)
take control, in any manner, of any item of payment or proceeds referred to herein; (ix) prepare, file and
sign Borrower’s name on any Notice of Lien, Assignment or Satisfaction of Lien or similar document im
connection with the Accounts; (xi) do all acts and things necessary, in Lender’s sole discretion, to fulfill
Borrower’s obligations under this Agreement; (xii) endorse the name of Borrower upon any of the items
of payment or proceeds and deposit the same to the account of Lender on account of the Liabilities, (xtii)
endorse the name of Borrower upon any chattel paper, document, instrument, invoice, freight bill, bill of
lading or similar document or agreement relating to the Accounts and inventory; (xiv) use Borrower’s
stationery and sign the name of Borrower to verifications of the Accounts and notices thereof to Account
Debtors; and (xv) use the information recorded on or contained in any data processing Equipment and
computer hardware and software relating to the Accounts and inventory to which Borrower has access.

10. MISCELLANEOUS.

10.1 Modification of Agreement; Sale of Interest. This Agreement and the Other Agreements may
not be modified, altered or amended, except by an agreement in writing signed by Borrower and Lender.
Borrower may not sell, assigri or transfer this Agreement, or the Other Agreements, or any portion
thereof, including, without limitation, Borrower’s rights, titles, interests, remedies, powers, and/or duties
hereunder or thereunder. Borrower hereby consents to Lender's participation, sale, assignment, transfer or other
disposition, at any time or times hereafter, of this, Agreement, or the Other Agreements, or of any portion hereof
or thereof, including, without limitation, Lender’s rights, title, interests, remedies, powers, and/or duties
hereunder or thereunder. This Agreement and Other Agreements shall be binding upon and inure to the benefit
of the successors and assigns of Borrower, each Affiliate, and Lender.

10.2 Expenses and Attorney’s Fees. (A) If, at any time or times, whether prior or subsequent to
the date hereof and regardless of the existence of an Event of Default, Lender employs counsel for
advice or other representation or incurs legal and/or other costs and expenses in connection with: %) the

   

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negotiation, preparation, execution or performance of this Agreement, all Other Agreements, any amendment
of or modification of this Agreement or the Other Agreements or any sale or attempted sale of any interest
herein to a Participant; (ii) any litigation, contest, dispute, suit, proceeding or action (whether instituted by
Lender, Borrower or any other Person) in any way relating to the Collateral, this Agreement, the Other
Agreements or Borrower’s affairs; (iii) any attempt to enforce any rights of Lender or any Participant
against Borrower or any other Person which may be obligated to Lender by virtue of this Agreement or
the Other Agreements, including, without limitation, the Account Debtors; and (iv) any attempt to service,
inspect, verify, protect, collect, sell, liquidate or otherwise dispose of the Collateral; then, in any such event,
the attomeys’ fees arising from such services and al] expenses, costs, charges, paralegal fees, and other fees of
counsel or of Lender in any way or respect arising in connection with or relating to.any of the events or actions
described in this Section shall be payable (whether the above are reasonable or not), on demand, by
Borrower to Lender and shall be additional Liabilities hereunder secured by the Collateral and, to the extent set
forth in the Other Agreements; (B) Borrower shall pay to Lender, on demand, any and all fees, costs or expenses
which Lender pays to a bank, other similar institution, or intemet service provider arising out of or in connection
with (i) the forwarding to Borrower or any other Person on behalf of Borrower, by Lender of proceeds of loans
made by Lender to Borrower pursuant to this Agreement, (ii) the depositing for collection, by Lender of any

check or item of payment received and/or delivered to Lender on account of the Liabilities, and (iii) internet.

reporting; (C) Borrower shall pay to Lender, on demand, any and all fees, costs or expenses of all out-of-pocket
travel expenses of auditors for each field examination performed, long distance telephone charges, legal fees
incurred in collecting the Accounts, postage, credit reports, wire transfers, overnight mail delivery, UCC
searches, tax lien searches, filing fees, ACH transfers, incoming wires, retumed items, and bank charges.

10.3. Destruction of Borrower’s Documents. All documents, schedules, invoices, agings, or other papers
delivered to Lender may be computer imaged, destroyed, or otherwise disposed of by Lender at any time after
delivery to or receipt by Lender.

10.4 No Waiver by Lender. Lender’s failure, at any time or times hereafter, to require strict
. performance by Borrower of any provision of this Agreement shall not waive, affect or diminish any right
of Lender thereafter to demand strict compliance and performance therewith. Any suspension or waiver by
Lender of an Event of Default by Borrower under this Agreement or the Other Agreements shall not
suspend, waive or affect any other Event of Default by Borrower under this Agreement or the Other
Agreements, whether the same is prior or subsequent thereto and whether it is of the same or of a
different type. None of the undertakings, agreements, warranties, covenants and representations of Borrower
contained in this Agreement or the Other Agreements and no Event of Default by Borrower under this
Agreement or the Other Agreements shall be deemed to have been suspended or waived by Lender, unless
such suspension or waiver is by an instrument in writing signed by an officer of Lender and directed to Borrower
specifying such suspension or waiver.

10.5 Waivers by Borrower. Except as otherwise provided for in this Agreement, Borrower
waives (i) presentment, demand and protest and notice of presentment, protest, default, non-payment,

maturity, release, compromise, settlement, extension or renewal of any or all commercial paper, accounts,

contract rights, documents, instruments, chattel paper and guaranties at any time held by Lender on which
Borrower may in any way be liable and hereby ratifies and confinms whatever Lender may do im: this
regard; (ii) all rights to notice of a hearing prior to Lender’s taking possession or control of, or to Lender’s
replevy, attachment or levy upon, the Collateral or any bond or security which might be required by any court
prior to allowing Lender to exercise any of Lender’s remedies; and (iii) the benefit of all valuation,
appraisement and exemption laws. Borrower acknowledges that it has been advised by counsel with respect to
this Agreement and the transactions evidenced by this Agreement.

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10.6 Severability. Wherever possible, each provision of this Agreement shall be interpreted in such
manner as.to be effective and valid under applicable law, but if any provision of this Agreement shall be
prohibited by or invalid under applicable law, such provision shall be ineffective to the extent of such
probibition or invalidity, without invalidating the remainder of such provision or the remaining provisions of
this Agreement.

10.7 Conflict of Terms and Incorporation. The provisions of the Other Agreements and any
Schedule ‘are incorporated in this Agreement by this reference thereto, and this Agreement constitutes the
entire agreement of the parties and may not be modified or supplemented by any prior or contemporaneous
oral understanding. Except as otherwise provided in this Agreement and except as otherwise provided in the
Other Agreements by specific reference to the applicable provision of this Agreement, ifany provision contained
in this Agreement is in conflict with, or inconsistent with, any provision in the Other Agreements, the
provision contained in this Agreement shall govern and control.

10.8 Equitable Relief. Borrower recognizes that, in the event Borrower fails to perform,
observe or discharge any of its obligations or liabilities under this Agreement, any remedy atlaw may
prove to be inadequate relief to Lender; therefore, Borrower agrees that Lender, if Lender so
requests, shall be entitled to temporary and permanent injunctive relief in any such case without the
necessity of proving inadequacy of Lender’s remedies at law.

10.9 Advances without Documentation. Each loan or advance made by Lender to Borrower
pursuant to this Agreement may or may not (at Lender’s sole and absolute sole discretion) be evidenced
by notes or other instruments issued or made by Borrower to Lender. Where such loans or advances are not
so evidenced, such loans and advances shall be evidenced solely by entries upon Lender’s books and records.

10.10 Governing Law; Jurisdiction: Venue; Waiver of Jury Trial and Service of Process.

(A) THIS AGREEMENT SHALL BE INTERPRETED AND THE RIGHTS AND LIABILITIES OF
THE PARTIES HERETO DETERMINED IN ACCORDANCE WITH THE LAWS OF THESTATE
OF OKLAHOMA APPLICABLE TO AGREEMENTS EXECUTED, DELIVERED, FORMED, AND
PERFORMED WITHIN THE STATE OF OKLAHOMA, AND THE PARTIES AGREE AND
STIPULATE THAT THIS AGREEMENT HAS BEEN SO EXECUTED, DELIVERED, AND
FORMED, AND WILL BE SO PERFORMED. THE PARTIES AGREE AND STIPULATE THAT
THE EXCLUSIVE JURISDICTION FOR ANY LITIGATION TO BE BROUGHT BY OR ON
BEHALF OF BORROWER ARISING OUT OF OR RELATED TO THIS AGREEMENT,
WHETHER SOUNDING IN LAW, EQUITY, CONTRACT, TORT, OR ANY OTHER THEORY,
SHALL BE IN THE STATE DISTRICT COURT OR FEDERAL DISTRICT COURT LOCATED
WITHIN OKLAHOMA COUNTY, OKLAHOMA. THE PARTIES STIPULATE AND AGREE
THAT ANY FORUM OTHER THAN SUCH COURTS LOCATED IN OKLAHOMA COUNTY,
OKLAHOMA, SHALL IMPOSE AN UNDUE HARDSHIP AND BURDEN UPON LENDER AND
SHALL CONSTITUTE AN INCONVENIENT FORUM JUSTIFYING TRANSFER, REMOVAL,
OR DISMISSAL, ON REQUEST OF LENDER , OF ANY ACTION FILED OUTSIDE SUCH .
JURISDICTIONS. BORROWER CONSENTS TO THE JURISDICTION OF SUCH COURTS.
BORROWER WAIVES PERSONAL SERVICE OF ANY AND ALL PROCESS UPON
BORROWER AND CONSENTS THAT ALL SUCH SERVICE OF PROCESS MAY BE BY
CERTIFIED MAIL. DIRECTED TO BORROWER AT ITS ADDRESS AS IT APPEARS IN THIS
AGREEMENT AND SERVICE SO MADE SHALL BE DEEMED TO BE COMPLETED FIVE (5)
BUSINESS DAYS AFTER THE SAME SHALL HAVE BEEN DEPOSITED IN THE U. S. MAILS,

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CERTIFIED MAIL, RETURN RECEIPT REQUESTED, POSTAGE PREPAID. BORROWER
WAIVES ANY OBJECTION BASED ON FORUM NON CONVENIENS, AND ANY OBJECTION
TO VENUE OF ANY ACTION INSTITUTED HEREUNDER AND CONSENTS TO THE
GRANTING OF SUCH LEGAL OR EQUITABLE RELIEF AS IS DEEMED APPROPRIATE BY
THE COURT. NOTHING IN THIS SECTION SHALL AFFECT LENDER’S RIGHT TO SERVE
LEGAL PROCESS IN ANY OTHER MANNER PERMITTED BY LAW OR AFFECT LENDER'S
RIGHT TO BRING ANY ACTION OR PROCEEDING AGAINST BORROWER OR ITS
PROPERTY IN THE COURTS OF ANY OTHER JURISDICTION. ANY PARTY MAY FILE AN
ORIGINAL COUNTERPART OR A COPY OF THIS SECTION WITH ANY COURT AS
WRITTEN EVIDENCE OF THE AGREEMENT AND CONSENT OF THE PARTIES HERETO TO
THE MATTERS SET FORTH HEREIN.

(B) EACH PARTY TO THIS AGREEMENT HEREBY EXPRESSLY WAIVES TO THE FULLEST
EXTENT ALLOWED BY LAW ANY RIGHT TO TRIAL BY JURY OF ANY CLAIM, DEMAND,
ACTION OR CAUSE OF ACTION (1) ARISING UNDER THIS AGREEMENT OR ANY OTHER
INSTRUMENT, DOCUMENT OR AGREEMENT EXECUTED OR DELIVERED IN
CONNECTION HEREWITH, OR (2) IN ANY WAY CONNECTED WITH OR RELATED OR
INCIDENTAL TO THE DEALINGS OF THE PARTIES HERETO OR ANY OF THEM WITH
RESPECT TO THIS AGREEMENT OR ANY OTHER INSTRUMENT, DOCUMENT OR
AGREEMENT EXECUTED OR DELIVERED IN CONNECTION HEREWITH, OR THE
TRANSACTIONS RELATED HERETO OR THERETO, IN EACH CASE WHETHER NOW
EXISTING OR HEREAFTER ARISING, AND WHETHER SOUNDING IN CONTRACT OR TORT
OR OTHERWISE; AND EACH PARTY HEREBY AGREES AND CONSENTS THAT ANY SUCH
CLAIM, DEMAND, ACTION OR CAUSE OF ACTIONS SHALL BE DECIDED BY COURT
TRIAL WITHOUT A JURY, AND THAT ANY PARTY TO THIS AGREEMENT MAY FILE AN
ORIGINAL COUNTERPART OR A COPY OF THIS SECTION WITH ANY COURT AS
WRITTEN EVIDENCE OF THE AGREEMENT AND CONSENT OF THE PARTIES HERETO TO
THE MATTERS SET FORTH HEREIN.

10.11 Notice. Except as otherwise provided in this Agreement, any notices, requests, or other
* communications required or permitted to be given hereunder shall be writing and shall be either (2) sent by
prepaid overnight delivery for next business day delivery using a nationally recognized overnight courier, in
which case notice shall be deemed delivered one business day after deposit with such courier, (b) sent by
telephone facsimile or emai] with .pdf attachments, in which case notice shall be deemed delivered upon
transmission of such notice and evidence of receipt of said transmission, or (c) sent by hand delivery, in which
case notice shall be deemed delivered upon receipt. A Party's address may be changed by written notice to the
other party; provided, however, that no notice ofa change of address shall be effective until actual receipt of such
notice, Rejection or other refusal to accept or inability to deliver because of a changed address of which no notice
was given shall be deemed to be receipt of the notice, request, or other communication. As used in this
Agreement, a “business day” is a day which is neither a Saturday, Sunday, nor legal holiday for national banks
in Oklahoma City, Oklahoma. Notices received after 5:00 p.m, Central Time shall be deemed delivered on the
next business day.

10.12 Counterpart Execution: Electronic Transmission. This Agreement may be executed in any number
of counterparts, each of which shall be deemed to be an original, and all of such counterparts shall constitute one
Agreement. To facilitate execution of this Agreement, the Parties may execute and exchange counterparts of the
signature pages by telephone facsimile or by email with “.pdf (or other imaging format) attachments. Any party
delivering an executed counterpart of this Agreement by telefacsimile or electronic transmission also,sHall

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deliver an original executed counterpart of this Agreement but the failure to deliver an original executed
counterpart shall not affect the validity, enforceability and binding effect of this Agreement.

IN WITNESS WHEREOF, this Agreement has been duly executed as of the day and year specified at the
beginning: hereof. °

Borrower:
VERTICAL HOLDINGS UNLIMITED, LLC

d/b/a VHU EXPRESS
a Florida limited liability company

 

Address: 7853 Gunn Highway
Tampa, FL 33626

ACCEPTED IN EDMOND, OKLAHOMA
this_|@\day of October, 2015.

Diversified Lenders LLC,

an Oklahoma limited liability company

    

LO Ne oe cnn
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Its: Vice President

Address: 111 North Broadway, Ste. B
Edmond, Oklahoma 73034

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SCHEDULE “A”

11. SPECIAL PROVISIONS

11.1 Advance Rate. The loans against Borrower’s Eligible Accounts, at Lender's sole discretion, may
be in amounts of up to Eighty-Five Percent (85%) of the net amount of Borrower’s Eligible Accounts.

11.2 Fees. Borrower and Lender agree that the following fees constitute commercially reasonable
compensation to Lender for agreeing to make funds available to Borrower under the terms provided in this
Agreement and Borrower shall pay to Lender:

A. Monthly Minimum Balance Fee. In the event the average loan balance for any month (the
“Average Monthly Balance”) is less than $100,000.00 (the “Minimum Average Monthly Balance”) the
Borrower Shall pay a fee (the “Minimum ‘Balance Fee”) calculated as follows: Minimum Average
Monthly Balance minus the actual Average Monthly Balance multiplied by the Contract Rate divided by
360 days multiplied by the actual number of days in such month. The Minimum Balance Fee as so
calculated shall be added to the principal balance of the Revolving Credit Note beginning on the first day
of the month following the Funding Date and on the same day of each month thereafter during the term
hereof and at maturity.

B. Monthly Collateral Management Fee. On the first day of the month following the Funding
Date and on the same day of each month thereafter during the term of this Agreement a collateral
management fee equal to the greater of One and Eight Tenths of One Percent (1.80%) of the Average
Monthly Balance for the preceding month or $100,000.00 (the “Collateral Management Fee”).

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SCHEDULE ‘B’
LOCATIONS

Primary Address:
7853 Gunn Highway
Tampa, FL 33626

Additional Locations:

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—_————_— Exhibit B

UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS firont andback) CAREFULLY ‘
A. NAME & PHONE OF CONTACT AT FILER [optional]

 

 

 

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4. DEBTOR'S EXACT FULLLEGAL NAME. incententyang debtornams (1001b)-de notabbreviztn or comblas names
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3. SECURED PARTY'S NAME {or NAME of TOTALASSIGNEE of ASSIGNOREP)-| yonasocasred partynatna (Saar 3b) :
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oR Diversified Lenders, LLC .
Sd. INDIVIOUAL S LAST NAME — JRRST NAME ; MOSLE NAME. P=
32 MALUNG ADDRESS : ATE ‘AL COSE COUNTRY
203 E. Main . Edmond : OK |73034
Dn a =

 

 

 

4."This FINANCING STATEMENT covars tho folowing collateral:
See Exhibit A attachment to this UCC Financing Statement for the Collateral Description

 

5. ALTERNATIVE DESIGNATION itapstiabietl [Lessemtesson | _|consaNgE/cotsisno paLEeaaLoR | joeuerouver [ lac.uen | |xon.ucerunc
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f. OPTIONAL FLER REFERENCE DATA ,

 

 

 

 

Internationa’ Association of Commercia! Administrators (ACA)
FILING OFFICE COPY — UCC-FINANTING STATEMENT (FORM UCC1) (REV. DS/z2/02) - “
 

 

 

 

 

 

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Exhibit A

’

All assets including but not limited to, all Debtor's present and future accounts, instruments, documents,
chattel paper, general intangibles, deposit accounts, investment property, commercial tort claims, letter
of credit rights, letters of credit, equipment and inventory, as more fully described as: (a) all Debtor's
accounts, whether now existing or hereafter arising (‘Accounts"); all chattel papers, documents and
instruments, whether now existing or hereafter arising relating to Accounts; all rights now or hereafter
existing in and to all security agreements, leases, and other contracts securing or otherwise relating to
Accounts or such chattel papers, documents and instruments; (b) all Debtor's general intangibles of any
kind, whether now existing or hereafter arising ("General Intangibles"); all chattel papers, documents

and instruments whether now existing or hereafter arising relating to General Intangibles; all rights now
or hereafter existing in and to all security agreements, leases, and contracts securing or otherwise
ralating to General Intangibles or such chattel papers, documents and instruments; (c) all Debtor's
inventory in all of its forms, whether now owned or hereafter acquired, wherever located, all accessions
or additions thereto, products thereof, whether now owned or hereafter acquired (“Inventory”); (d) the
proceeds, products, additions to, substitutions for and accessions of any property described in °
subparagraphs {a), {b), and (c} above; and {e) all Debtor's books, records, reports, memoranda, and/or
data compilations, in any form (including, without limitation, corporate and other business records,
customer lists, credit files, computer programs, print outs, and any other computer materials and
record(s), of Debtor pertaining to any of the property described in subparagraphs (a), (b}, (c}, and (d)
above.

NOTICE:

PURSUANT TO AN AGREEMENT BETWEEN DEBTOR AND SECURED: PARTY, DEBTOR HAS AGREED NOT TO
FURTHER ENCUMBER THE COLLATERAL DESCRIBED HEREIN. ,
 

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REVOLVING CREDIT NOTE

| September 30, 2015

FOR VALUE RECEIVED the undersigned VERTICAL HOLDINGS UNLIMITED, LLC
d/b/a VHU EXPRESS, a Florida limited liability company (the “Borrower”) promises to pay to the
order of DIVERSIFIED LENDERS, LLC, an Oklahoma limited liability company (“Lender”, which
term shall include its successors and assigns), or its assigns, at its offices at 111 North Broadway,
Ste. B, Edmond, Oklahoma 73034 in lawful money of the United States of America, the sum of One
Million Five Hundred Thousand Dollars ($1,500,000.00) or so much thereof as may from time to
time be advanced by Lender to Borrower pursuant to the terms of the Accounts Receivable Finance
Agreement (the “Agreement”; terms capitalized and not otherwise defined herein shall have the
meanings given them in the Agreement) together with interest on the daily unpaid principal balance
thereof from the date hereof until maturity at the Contract Rate.

It is contemplated. that by reason of payments hereon there may be times when no
indebtedness is owing hereunder; but notwithstanding such accurrences, this Note shall remain valid
and shall be in full force and effect as to loans or advances made pursuant to and under the terms of
the Agreement subsequent to each such occurrence, All loans or advances and all payments:made
hereunder or under the Agreement may be evidenced by Lender’s records maintained in accordance
with its usual practice. In the event of any legal action or proceeding in respect of this Note, the
Lender’s records shall be conclusive evidence of the existence and amounts of the Liabilities of
Borrower.

Borrower and each other Person now or hereafter liable for payment of this Note or any of the
other Liabilities are and shall be directly, primarily, jointly, and severally, liable for the payment of
all such Liabilities, and Borrower and each other such Person hereby expressly waive bringing of suit
and diligence in taking any action to collect any sums owing hereon and in the handling of any
security, and Borrower and each other such Person hereby consent to and agree to remain liable
regardless of any renewals, extensions, rearrangements, partial prepayments, or any release or
substitution of security for this Note or any of the other Liabilities, in whole or in part, with or
without notice, from time to time, before or after maturity thereof.

As is more fully set forth in the Agreement, it is the intention of Borrower and Lender to
conform strictly to applicable usury laws and in no event to require payment of, or to pay, interest in
excess of the Maximum Legal Rate

This Note is the Revolving Credit Note referred to in the Agreement.

THIS NOTE SHALL BE INTERPRETED AND THE RIGHTS AND LIABILITIES OF THE
PARTIES HERETO DETERMINED IN ACCORDANCE WITH THE LAWS OF THE
STATE OF OKLAHOMA APPLICABLE TO AGREEMENTS EXECUTED, DELIVERED,
FORMED, AND PERFORMED WITHIN THE STATE OF OKLAHOMA, AND THE
PARTIES AGREE AND STIPULATE THAT THIS AGREEMENT HAS BEEN S

REVOLVING CREDIT NOTE - Page 2 Rev. 0315 Initials
 

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EXECUTED, DELIVERED, AND FORMED, AND WILL BE SO PERFORMED. THE
PARTIES AGREE AND STIPULATE THAT THE EXCLUSIVE JURISDICTION FOR ANY
LITIGATION TO BE BROUGHT BY OR ON BEHALF OF BORROWER ARISING OUT
OF OR RELATED TO THIS NOTE, WHETHER SOUNDING IN LAW, EQUITY,
CONTRACT, TORT, OR ANY OTHER THEORY, SHALL BE IN THE STATE DISTRICT
COURT OR FEDERAL DISTRICT COURT LOCATED WITHIN OKLAHOMA COUNTY,
OKLAHOMA. THE PARTIES STIPULATE AND AGREE THAT ANY FORUM OTHER
THAN SUCH COURTS LOCATED IN OKLAHOMA COUNTY, OKLAHOMA, SHALL
IMPOSE AN UNDUE HARDSHIP AND BURDEN UPON LENDER AND SHALL
CONSTITUTE AN INCONVENIENT FORUM JUSTIFYING TRANSFER, REMOVAL, OR
DISMISSAL, ON REQUEST OF LENDER , OF ANY ACTION FILED OUTSIDE SUCH
JURISDICTIONS. BORROWER CONSENTS TO THE JURISDICTION OF SUCH
COURTS. BORROWER WAIVES PERSONAL SERVICE OF ANY AND ALL PROCESS
UPON BORROWER AND CONSENTS THAT ALL SUCH SERVICE OF PROCESS MAY
BE BY CERTIFIED MAIL DIRECTED TO BORROWER AT ITS ADDRESS AS IT
APPEARS IN THE AGREEMENT AND SERVICE SO MADE SHALL BE DEEMED TO BE
COMPLETED FIVE (5) BUSINESS DAYS AFTER THE SAME SHALL HAVE BEEN
DEPOSITED IN THE U.S. MAILS, CERTIFIED MAIL, RETURN RECEIPT REQUESTED,
POSTAGE PREPAID. BORROWER WAIVES ANY OBJECTION BASED ON FORUM
NON CONVENIENS, AND ANY OBJECTION TQ VENUE OF ANY ACTION
INSTITUTED HEREUNDER AND CONSENTS TO THE GRANTING OF SUCH LEGAL
OR EQUITABLE RELIEF AS IS DEEMED APPROPRIATE BY THE COURT. NOTHING
IN THIS SECTION SHALL AFFECT LENDER’S RIGHT TO SERVE LEGAL PROCESS
IN ANY OTHER MANNER PERMITTED BY LAW OR AFFECT LENDER’S RIGHT TO
BRING ANY ACTION OR PROCEEDING AGAINST BORROWER ORITS PROPERTY IN
THE COURTS OF ANY OTHER JURISDICTION. EITHER LENDER OR BORROWER
MAY FILE AN ORIGINAL COUNTERPART OR A COPY OF THIS SECTION WITH ANY
COURT AS WRITTEN EVIDENCE OF THE AGREEMENT AND CONSENT OF THE
BORROWER AND LENDER HERETO TO THE MATTERS SET FORTH HEREIN.

EACH OF BORROWER AND LENDER HEREBY EXPRESSLY WAIVES TO THE
FULLEST EXTENT ALLOWED BY LAW ANY RIGHT TO TRIAL BY JURY OF ANY
CLAIM, DEMAND, ACTION OR CAUSE OF ACTION (1) ARISING UNDER THIS NOTE
OR ANY OTHER INSTRUMENT, DOCUMENT OR AGREEMENT EXECUTED OR
DELIVERED IN CONNECTION HEREWITH, OR (2) IN ANY WAY CONNECTED WITH
OR RELATED OR INCIDENTAL TO THE DEALINGS OF THE BORROWER OR THE
LENDER OR ANY OF THEM WITH RESPECT TO THIS NOTE OR ANY OTHER
INSTRUMENT, DOCUMENT OR AGREEMENT EXECUTED OR DELIVERED IN
CONNECTION HEREWITH, OR THE TRANSACTIONS RELATED HERETO OR
THERETO, IN EACH CASE WHETHER NOW EXISTING OR HEREAFTER ARISING,
AND WHETHER SOUNDING IN CONTRACT OR TORT OR OTHERWISE; AND EACH
OF BORROWER AND LENDER HEREBY AGREES AND CONSENTS THAT ANY SUCH
CLAIM, DEMAND, ACTION OR CAUSE OF ACTIONS SHALL BE DECIDED BY COURT
TRIAL WITHOUT A JURY, AND THAT EITHER OF BORROWER OR LENDER

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FILE AN ORIGINAL COUNTERPART OR A COPY OF THIS SECTION WITH ANY
COURT AS WRITTEN EVIDENCE OF THE AGREEMENT AND CONSENT OF
BORROWER AND LENDER TO THE MATTERS SET FORTH HEREIN.

Borrower:

VERTICAL HOLDINGS UNLIMITED, LLC
d/b/a VHU EXPRESS
a Florida limited liability company

 

 

 

 

Address: 7853 Gunn Highway
' Tampa, FL 33626

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